                 Case 18-11494-LSS               Doc 9      Filed 07/03/18         Page 1 of 107



                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                  )                             Chapter 11
                                        )
                                        )                             Case No. 18-11494
EDUCATION MANAGEMENT II, LLC, et al.1 )
                                        )
                                        )
            Debtors.                    )
_______________________________________ )

              GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
          OVERVIEW OF METHODOLOGY AND DISCLAIMERS REGARDING
                     DEBTORS’ SCHEDULES AND SOFAS

        Education Management II, LLC (the “Company”) and its affiliated debtors and debtors in
possession (collectively, “Debtors”) hereby file their respective Schedules of Assets and
Liabilities (“Schedules”) and Statements of Financial Affairs (“SOFAs”) in accordance with
section 521 of title 11 of the United States Code (“Bankruptcy Code”) and Rule 1007 of the
Federal Rules of Bankruptcy Procedure.

                                                    Background

       A.      Through organic growth and acquisitions, the Company and its affiliated entities
became among the largest providers of postsecondary education in North America, operating 110
primary locations across 32 U.S. states and in Canada. The Company and its affiliated entities’
schools were organized into four separate education systems: The Art Institutes; South
University; Argosy University; and Brown Mackie Colleges.

        B.     Each of the schools located in the United States was recognized by accreditation
agencies and by the U.S. Department of Education, enabling students to access federal student
loans, grants and other forms of public and private financial aid.

       C.       The Company and its affiliates experienced deteriorating results from operations
over the last several fiscal years due to the stagnant U.S. economy, the substantial decrease in the
availability of private lending sources to fund tuition and fees, the loss of federal and state
support for student financial aid, the impact of adverse publicity related to the for profit
education industry, student concerns about incurring debt to fund their education, the impact of
new regulations, and inability to increase tuition rates, among other factors. The number of
students attending the Company and its affiliated entities’ post-secondary institutions contracted



1
  Debtors anticipate that the trustee appointed in these chapter 7 cases will seek joint administration of all cases
under the Education Management II LLC case. As a result, Debtors are not separately listing each debtor and case
number on this caption. A listing of all debtors in these cases, and the last four digits of their respective federal tax
identification numbers, is attached as Exhibit A to these Global Notes.


#49291498 v1
                Case 18-11494-LSS             Doc 9      Filed 07/03/18        Page 2 of 107



from 158,300 students to 112,400 students and net revenues decreased from $2,887.6 million to
$1,936.5 million in four years.

         D.     In November 2015, the Company entered into settlement agreements with (i) the
U.S. Department of Justice, 12 state attorneys general, the District of Columbia and relators
resolving four cases filed under federal and state False Claims Acts, and (ii) 39 state attorney
generals and the District of Columbia to end state-level investigations into recruiting practices
(the “2015 Settlements”). The 2015 Settlements required the Company to pay $95.5 million and
forgive approximately $100 million of loans to certain students who attended the Company’s
institutions between January 1, 2006 and December 31, 2014.

        E.    As a result of the 2015 Settlements and continued worsening operating results, the
Company undertook a substantial restructuring of its business, starting in late 2015 and early
2016, which included the teach-out2 of a substantial number of lower performing school
locations. The teach-outs included 19 of the 51 Art Institute locations, 22 of the 26 Brown
Mackie College locations and one Argosy University campus. The Company spent significant
sums to teach-out these school locations, including the payment of obligations that otherwise
would not have been funded, with the final school teach-outs completed in December 2017.

        F.     The Company also engaged an investment advisor to pursue the sale of the school
locations that were not being taught-out. The Company pursued a number of transaction
opportunities to maximize the value of its remaining assets and consummated the following sale
transactions:

                 (i)      On July 1, 2016, the Company sold The Connecting Link II, LLC (“The
                          Connecting Link”) to Triad Learning Systems, LLC and Taylor Study
                          Method, LLC for the payment to the Company of $1.7 million.

                 (ii)     In January 2017, the Company and/or its affiliates sold assets associated
                          with the Brown Mackie College campuses located in Bettendorf, Iowa;
                          Hopkinsville, Kentucky; and North Canton, Ohio to Ross Education, LLC
                          (“Ross Education”) and paid Ross Education $2.0 million in connection
                          with the sale. The purchase price was subject to a final net working capital
                          adjustment, which resulted in an additional amount of $0.1 million due to
                          Ross Education.

                 (iii)    On January 31, 2017, the Company sold equity interests in The Art
                          Institute of Vancouver to College LaSalle International Inc. and 1092880
                          B.C. LTD. (the “AiV Purchasers”) for the payment to the Company of
                          $16.0 million, with $2.0 million of the purchase price paid to an escrow
                          established for potential claims by the AiV Purchasers. The purchase price
                          was subject to a post-closing adjustment to the extent working capital at
                          The Art Institute of Vancouver on the closing date was greater than or less
                          than negative $2.3 million, which resulted in $0.5 million due to the AiV
                          Purchasers.
2
 By “teach out”, Debtors mean that they stopped accepting new students but worked with all existing students to
complete their degrees.


#49291498 v1
               Case 18-11494-LSS        Doc 9     Filed 07/03/18     Page 3 of 107



               (iv)    On January 18, 2017, the Company and certain of its subsidiaries entered
                       into an Asset Purchase Agreement (the “DCF Purchase Agreement”) with
                       Dream Center Foundation (“DCF”), a not for profit entity, and certain of
                       its newly formed subsidiaries (collectively with DCF, the “DCF Buyers”)
                       for the sale of substantially all of the Company’s remaining school
                       locations, specifically South University, Argosy University (including one
                       campus being taught-out), and all of the “core” Art Institutes school
                       locations (other than The Art Institute of Vancouver) which were not
                       being taught-out. The DCF Purchase Agreement was amended and
                       restated on February 24, 2017 and further amended on July 20, 2017 and
                       October 13, 2017. Under the final terms of the DCF Purchase Agreement:
                       (a) There were two closing dates due to a delay in the receipt of regulatory
                       approvals for institutions accredited by The Higher Learning Commission
                       (four locations) and Middle States Commission on Higher Education (two
                       locations including the fully online programs offered by The Art Institute
                       of Pittsburgh), with the first closing occurring on October 17, 2017 and the
                       second closing occurring on January 19, 2018.

       G.       Pursuant to a Transition Services Agreement executed in connection with the
DCF transaction, the DCF Buyers took possession and control of substantially all of the
Company and its’ affiliates books and records and agreed to provide certain administrative
services to the Company and its affiliates as they wound down business affairs.

         H.      Since late 2017, the Company and its remaining employees, with the assistance of
counsel and advisors and relying upon administrative services provided by the DCF Buyers, have
worked to, among other things: (i) complete audits required by the United States Department of
Education and state regulators and accrediting agencies; (ii) file tax returns; (iii) manage ongoing
litigation; (iv) communicate with creditors; (v) explore wind-down options; and (vi) prepare the
filing of these chapter 7 cases, including the Schedules and SOFAs.

       I.      Frank Jalufka, who served as CEO of Education Management Corporation and
President of each of its subsidiaries since December 2017, has signed each set of Schedules and
SOFAs. Nearly all of the source documents for the information contained in the Schedules and
SOFAs have been and continue to be in the possession of the DCF Buyers. The DCF Buyers
have provided information necessary for the completion of the Schedules and SOFAs as
requested by the Company under the Transition Services Agreement. In signing the Schedules
and SOFAs, Mr. Jalufka is attesting to the process used by Debtors’ remaining personnel and
professionals in gathering and presenting data in the Schedules and SOFAs. Mr. Jalufka has not
(and could not have) verified the completeness or accuracy of the financial data derived from
Debtors’ books and records in the possession of the DCF Buyers, including responses,
statements and representations concerning assets and liabilities of Debtors presented in the
Schedules and SOFAs.

       J.      Mr. Jalufka, Debtors and their respective agents, employees, attorneys and
advisors involved in the compilation and preparation of the Schedules and SOFAs (“Compilers”)
do not guarantee or warrant the accuracy or completeness of the data, responses, statements, and
representations that are provided in the Schedules and SOFAs, and none of the foregoing shall be


#49291498 v1
               Case 18-11494-LSS        Doc 9     Filed 07/03/18     Page 4 of 107



liable for any loss or injury arising out of or caused in whole or in part by the acts, errors, or
omissions, whether negligent or otherwise, in procuring, compiling, collecting,
interpreting, reporting, communicating, or delivering the information contained in the
Schedules and SOFAs. While commercially reasonable efforts have been made to provide
accurate and complete information in the Schedules and Statements, inadvertent errors or
omissions may exist. The Compilers expressly do not undertake any obligation to update,
modify, revise, or re-categorize the information provided in the Schedules and SOFAs, or
to notify any third party should the information be updated, modified, revised, or re-
categorized. In no event will the Compilers be liable to any third party for any direct, indirect,
incidental, consequential, or special damages (including, but not limited to, damages arising
from the disallowance of a potential claim against Debtors or damages to business
reputation, lost business, or lost profits), whether foreseeable or not and however caused,
even if t h e C o m p i l e r s are advised of the possibility of such damages.

       K.     In light of the foregoing, the Schedules and SOFAs are limited and must be read
in connection with, and informed by, the following Global Notes and Statement of Limitations,
Overview of Methodology and Disclaimers Regarding Debtors’ Schedules and SOFAs (“Global
Notes”), which are incorporated by reference in, and comprise an integral part of, the Schedules
and SOFAs.

                          Global Notes and Statement of Limitations

        1.     Joint Administration. Because of the overlapping issues and creditors in
Debtors’ chapter 7 cases, Debtors expect that the trustee appointed in these chapter 7 cases will
seek joint administration of Debtors’ chapter 7 cases. Notwithstanding the expected joint
administration of the chapter 7 cases for procedural purposes, each Debtor has filed its own
Schedules and SOFA. The Compilers have endeavored to present information in the Schedules
and SOFAs as of the Petition Date but has not been able to do so consistently throughout. The
Compilers have endeavored to note those circumstances where information is not as of the
Petition Date.

        2.       Global Notes Control. These Global Notes pertain to and comprise an integral
part of all of the Schedules and SOFAs and should be referenced in connection with any review
thereof. In the event that the Schedules and SOFAs differ from these Global Notes, the Global
Notes control.

        3.      Reservations and Limitations. Reasonable efforts have been made to prepare
and file complete and accurate Schedules and SOFAs; however, as noted above, inadvertent
errors or omissions may exist. Debtors reserve all rights to amend or supplement the Schedules
and SOFAs as is necessary and appropriate. Nothing contained in the Schedules and SOFAs
constitutes a waiver of any of Debtors’ rights or an admission of any kind with respect to the
chapter 7 cases or otherwise, including, but not limited to, any rights or claims of Debtors against
any third party or issues involving substantive consolidation, equitable subordination, or
defenses or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code or
any other relevant applicable bankruptcy or non-bankruptcy laws to recover assets or avoid
transfers. Any specific reservation of rights contained elsewhere in the Global Notes does not
limit in any respect the general reservation of rights contained in this paragraph.


#49291498 v1
               Case 18-11494-LSS         Doc 9     Filed 07/03/18     Page 5 of 107



       4.      No Admission. Nothing contained in the Schedules and SOFAs is intended or
should be construed as an admission or stipulation of the validity of any claim against Debtors,
any assertion made therein or herein, or a waiver of Debtors’ rights to dispute any claim or assert
any cause of action or defense against any party.

        5.     Recharacterization. Notwithstanding that Debtors have made reasonable efforts
to correctly characterize, classify, categorize, or designate certain claims, assets, executory
contracts, unexpired leases, and other items reported in the Schedules and SOFAs, Debtors
nonetheless may have improperly characterized, classified, categorized, or designated certain
items. Debtors thus reserve all rights to recharacterize, reclassify, recategorize, or redesignate
items reported in the Schedules and SOFAs at a later time as is necessary and appropriate.

        6.     Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
Schedule E as “priority,” (iii) a claim on Schedule F as “unsecured,” or (iv) a contract on
Schedule G as “executory” or “unexpired” does not constitute an admission by Debtors of the
legal rights of the claimant, or a waiver of Debtors’ right to recharacterize or reclassify such
claim or contract.

        7.      Claims Description. Due to the circumstances surrounding the filing of the
chapter 7 cases, Debtors have been unable to verify the validity and amounts of many creditors’
claims, or the creditor claims reflected in the Debtors’ books do not include unprocessed claims,
either because processing of invoices was not completed or the Debtors had yet to receive
invoices for goods and services. As a result, Debtors have labeled many claims as disputed,
liquidated and/or contingent on the Schedules. Any failure to designate a claim on a given
Debtor’s Schedules as “disputed,” “contingent,” or “unliquidated” does not constitute an
admission by the debtor that such amount is not “disputed,” “contingent,” or “unliquidated.”
Debtors reserve all rights to dispute, or assert offsets or defenses to, any claim (“Claim”)
reflected on their respective Schedules on any grounds, including, without limitation, liability or
classification, or to otherwise subsequently designate such claims as “disputed,” “contingent,” or
“unliquidated” or object to the extent, validity, enforceability, priority, or avoidability of any
Claim. Moreover, listing a Claim does not constitute an admission of liability by a debtor against
which the Claim is listed or by any of Debtors. Debtors reserve all rights to amend their
Schedules and SOFAs as necessary and appropriate, including, but not limited to, with respect to
claim description and designation.

        8.     Estimates and Assumptions. The preparation of the Schedules and SOFAs
required Debtors to make reasonable estimates and assumptions with respect to the reported
amounts of assets and liabilities, the amount of contingent assets and contingent liabilities on the
date of the Schedules and SOFAs, and the reported amounts of revenues and expenses during the
applicable reporting periods. Actual results could differ from those estimates.

       9.      Causes of Action. Despite reasonable efforts, Debtors may not have identified
and/or set forth all of their causes of action (filed or potential) against third parties as assets in
their Schedules and SOFAs, including, without limitation, avoidance actions arising under
chapter 5 of the Bankruptcy Code and actions under other relevant bankruptcy and non-
bankruptcy laws to recover assets. Debtors reserve all rights with respect to any causes of action,



#49291498 v1
               Case 18-11494-LSS        Doc 9     Filed 07/03/18     Page 6 of 107



and nothing in these Global Notes or the Schedules and SOFAs should be construed as a waiver
of any such causes of action.

        10.     Insiders. Where the Schedules and Statements require information regarding
“insiders,” Debtors have included information with respect to individuals who served as officers
and directors (or the equivalent), as the case may be, during relevant time periods. Such
individuals no longer serve as an officer or director of Debtors. The listing of a party as an
insider for purposes of the Schedules and SOFAs is not intended to be, nor should it be,
construed as a legal characterization of such party as an insider and does not act as an admission
of any fact, right, claim, or defense, and all such rights, claims and defenses are hereby expressly
reserved. Information regarding the individuals listed as “insiders” in the Schedules and SOFAs
has been included for informational purposes only and such information may not be used for the
purposes of determining control of Debtors, the extent to which any individual exercised
management responsibilities or functions, corporate decision-making authority over Debtors, or
whether such individual could successfully argue that he or she is not an “insider” under
applicable law, including the Bankruptcy Code and federal securities laws, or with respect to any
theories of liability or any other purpose.

                          Overview of Methodology and Disclaimers

         1.     Basis of Presentation. For financial reporting purposes, Debtors and their
affiliates prepare consolidated financial statements that are audited annually. Unlike the
consolidated financial statements, these Schedules and SOFAs reflect the separate assets and
liabilities of each individual debtor. These Schedules and SOFAs do not purport to represent
financial statements prepared in accordance with Generally Accepted Accounting Principles in
the United States (“GAAP”). The Schedules and SOFAs contain unaudited information that is
subject to further review and potential adjustment. The Schedules and SOFAs reflect the
Compilers’ reasonable efforts to report the assets and liabilities of each debtor on an
unconsolidated basis.

       2.     Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
or “undetermined” is not intended to reflect upon the materiality of such amount.

        3.     Totals. All totals that are included in the Schedules and SOFAs represent totals
of all known amounts. To the extent there are unknown or undetermined amounts, the actual
total may be different than the listed total.

        4.     Intercompany Transactions. As with most corporate enterprises of significant
size and complexity, Debtors operated a consolidated cash management system prior to the
Petition Date, which resulted in intercompany accounts payable and accounts receivable.
However, Debtors historically reported all financials on a consolidated basis. Intercompany
payables and receivables were historically “trued up” at the end of each fiscal year to account for
and allocate administrative and enterprise expenses to the proper party, but due to the
consolidated reporting structure and the several hundred million in intercompany and
intracompany transfers during any given year, that “true-up” could be materially misstated in any
given year. Debtors have not done a “true up” since the fiscal year ending June 30, 2017 and do
not have the resources to separate out intercompany obligations from the consolidated reporting


#49291498 v1
               Case 18-11494-LSS         Doc 9    Filed 07/03/18      Page 7 of 107



structure at this time. As a result, Debtors’ schedules do not list intercompany payables and
receivables. Regardless of the foregoing, Debtors do not believe that any intercompany
obligations have any realizable value.

        5.     Setoffs. Debtors routinely incur setoffs and net payments in the ordinary course of
business. Such setoffs and nettings may occur due to a variety of transactions or disputes,
including but not limited to, intercompany transactions, rebates, returns, refunds, negotiations, or
application of prepayments or deposits. It would be unduly burdensome on Debtors’ limited
resources to list each such potential transaction, and all such potential setoff claims cannot be
reasonably discerned at this time. Therefore, although such setoffs and other similar rights may
have been accounted for when scheduling certain amounts, these ordinary course setoffs are not
independently accounted for, and as such, are or may be excluded from the Schedules and
SOFAs. In addition, some amounts listed in the Schedules and SOFAs may have been affected
by setoffs or nettings by third parties of which Debtors were not aware. Debtors reserve all rights
to challenge any setoff and/or recoupment rights that may be asserted.

                                 Specific Schedules Disclosures

       1.      Schedule A/B, Question 3. Historically, Debtors and their affiliates maintained
more than four hundred bank accounts, the majority of which were zero balance deposit accounts
that were swept daily into concentration accounts. Debtors, with assistance from treasury
services of the DCF Buyers, have worked over the last several months to close all but a handful
of those accounts. Debtors believe that they have disclosed all remaining open accounts in
response to question 3 on the respective Schedules. However, certain accounts may still be open
for which Debtors lack knowledge.

       2.     Schedule A/B, Questions 6, 7 and 8. Debtors historically made prepayments in
the ordinary course of business for utilities, taxes, rent, and other ordinary course supplies.
Despite reasonable diligence, Debtors have been unable to identify any prepayments or deposits
that remain unapplied. Further, in the weeks leading up to the filing of these cases, Debtors
made several deposits and/or prepayments for professional services. Debtors have not disclosed
those prepayments or deposits in response to questions 6 through 8 on the Schedules because
those prepayments and deposits will be disclosed in the SOFAs or other Court pleadings.

        3.     Schedule A/B, Questions 10-12. As discussed above, Debtors have not trued up
intercompany accounts payable/receivable since the fiscal year ending June 30, 2017. As a
result, and because Debtors believe that any such intercompany accounts receivable have no
realizable value, Debtors have not listed any accounts receivable in response to questions 10
through 12 on the Schedules.

        4.      Schedule D – Creditors Holding Secured Claims. Debtors have not included
on Schedule D parties that may believe their claims are secured through setoff rights or inchoate
statutory lien rights. Except as otherwise agreed with a party asserting a secured claim or
pursuant to an order of the Bankruptcy Court, Debtors reserve the right to dispute or challenge
the validity, perfection or priority of any lien purported to be granted or perfected in any specific
asset to a creditor listed on Schedule D. The descriptions provided on Schedule D are intended
only as a summary. Reference to the applicable loan agreements and related documents is


#49291498 v1
               Case 18-11494-LSS         Doc 9    Filed 07/03/18      Page 8 of 107



necessary for a complete description of the collateral and the nature, extent and priority of any
liens. Nothing in any Schedule D shall be deemed a modification, interpretation, or waiver of
the terms of any such agreements.

        5.     Schedule E – Creditors Holding Unsecured Priority Claims. Debtors believe
that they have paid all employee claims and all claims of taxing authorities through December
2017. Debtors have attempted to schedule the claims of taxing authorities of which they are
aware, but there may be tax claims arising prior to the Petition Date which have not yet been
assessed or payable by Debtors.

        6.      Schedule F – Creditors Holding Unsecured Nonpriority Claims. As of the
time of filing of the Schedules and SOFAs, Debtors may not have received all invoices for
payables, expenses, and other liabilities that may have accrued prior to the Petition Date.
Accordingly, the information contained in Schedule F may be incomplete. The Debtors reserve
their rights, but undertake no obligations, to amend Schedule F if and as they receive invoices
and as more information is received. Further, Debtors have scheduled landlord claims in the
amounts allowable under 11 U.S.C. § 502(b)(6), calculated from the date that a respective debtor
surrendered possession of the leased premises.

        7.     Schedule G – Executory Contracts. While every effort has been made to ensure
the accuracy of Schedule G, inadvertent errors or omissions may have occurred. Listing a
contract or agreement on Schedule G does not constitute an admission that such contract or
agreement is an executory contract or unexpired lease or that such contract or agreement was in
effect on the Petition Date or is valid or enforceable. Debtors hereby reserve all of their rights to
dispute the validity, status, or enforceability of any contracts, agreements, or leases set forth in
Schedule G and to amend or supplement such Schedule as necessary.

                                   Specific SOFAs Disclosures

        1.     Questions 1 and 2. Debtors generally report income on a consolidated basis. As
a result, gross income reported in response to question 1 on the SOFAs may be materially
misstated.

       2.      Question 3. Prior to the Petition Date, Debtors maintained a centralized cash
management system through which the Company and certain other “paymaster” entities made
payments on behalf of subsidiaries. Consequently, all payments to creditors and insiders listed in
response to Questions 3b and 3c on each of the SOFAs likely reflect transfers made by the
Company or another paymaster entity for the benefit of a respective Debtor. Debtors have
attempted to tie each transfer to the respective Debtor on whose account it was made but do not
warrant or guarantee the accuracy of such listings.

       3.     Question 4. In response to question 4 on the SOFAs, Debtors restate and
incorporate by reference the disclaimer listed under paragraph 10 of the Global Notes and
Statement of Limitations above.

        4.    Question 5. On June 25, 2018, at the request of US Bank National Association
(the “Agent”) as Administrative Agent for the “Lenders” and Collateral Agent for the “Secured
Parties” (each as defined in a Credit and Guaranty Agreement and a Pledge and Security


#49291498 v1
               Case 18-11494-LSS         Doc 9    Filed 07/03/18      Page 9 of 107



Agreement, each dated as of January 5, 2015 and as each have been amended from time to time),
the Company, Education Management Corporation (“Parent”), Education Management Holdings
II, LLC (“Holdings”), and certain debtor and non-debtor subsidiaries of Holdings (together with
Company, Parent, and Holdings, the “Credit Parties”) entered into a Surrender of Collateral,
Consent to Partial Strict Foreclosure, and Release Agreement (UCC 9-620) (the “PSFA”),
pursuant to which the Credit Parties surrendered to Agent peaceful possession, right, title and
interest in and to certain “Surrendered Collateral”, defined and described in Exhibit 1 to the
PSFA. The Exhibit defining and describing the Surrendered Collateral is attached to the SOFAs
as schedule 2.5.

       5.      Question 7. Debtors have listed all legal actions and administrative proceedings
of which they have knowledge, but there may be other actions that have been filed against
Debtors of which Debtors have not, as of the Petition Date, received notice. Further, Debtors’
description of the nature or status of each proceeding may be incorrect or incomplete. Such
descriptions do not constitute an admission as to any facts in such proceedings or a waiver of
Debtors’ rights with respect thereto.

         6.    Question 18. See disclosure 1 in the Specific Schedules Disclosures section
above.

        7.      Question 26d. Debtors have not listed every person to whom they have issued
financial statements within two years of the Petition Date, as that list would number in the
hundreds if not thousands. Debtors routinely, in the ordinary course of their businesses,
provided financial and other statements to: (i) the United States Department of Education; (ii)
accrediting agencies; (iii) state attorneys general and regulatory agencies; (iv) lenders to and
investors in Debtors and affiliates; (v) auditors listed in response to questions 26a through c; (vi)
actual and potential purchasers of assets, business lines and campus locations; (vii) various credit
card processors; (viii) existing and prospective insurers; (ix) insurance brokers; (x) surety
underwriters and surety brokers; (xi) third party educational lenders and collection agencies; (xii)
landlords; (xiii) litigation counterparties; and (xiv) various vendors.

        8.      Questions 28 and 29. The individuals listed in response to questions 28 and 29
no longer serve as an officer or director of Debtors. The listing of a party as an officer or
director for purposes of the Schedules and SOFAs is not intended to be, nor should it be,
construed as a legal characterization of such party as an insider and does not act as an admission
of any fact, right, claim, or defense, and all such rights, claims and defenses are hereby expressly
reserved. The individuals have been included for informational purposes only and such
information may not be used for the purposes of determining control of Debtors or the extent to
which any individual exercised management responsibilities or functions, corporate decision-
making authority over Debtors.




#49291498 v1
               Case 18-11494-LSS    Doc 9    Filed 07/03/18   Page 10 of 107



Dated: July 2, 2018
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#49291498 v1
               Case 18-11494-LSS              Doc 9   Filed 07/03/18    Page 11 of 107



                                                EXHIBIT A

                                    Debtor                                    FEIN

 1       Education Management II LLC                                   XX-XXXXXXX

 2       American Education Centers, Inc.                              XX-XXXXXXX
 3       Argosy Education Group, Inc.                                  XX-XXXXXXX
 4       Argosy University of California LLC                           XX-XXXXXXX
 5       Brown Mackie College - Tucson, Inc.                           86-026-4601
 6       Education Finance III LLC                                     XX-XXXXXXX
 7       Education Management Corporation                              XX-XXXXXXX
 8       Education Management Holdings II LLC                          XX-XXXXXXX
 9       Education Management LLC                                      XX-XXXXXXX
 10      Higher Education Services II LLC                              XX-XXXXXXX
 11      Miami International University of Art & Design, Inc.          XX-XXXXXXX
 12      South Education – Texas LLC                                   XX-XXXXXXX
 13      South University of Alabama, Inc.                             XX-XXXXXXX
 14      South University of Carolina, Inc.                            XX-XXXXXXX
 15      South University of Florida, Inc.                             XX-XXXXXXX
 16      South University of Michigan, LLC                             XX-XXXXXXX
 17      South University of North Carolina LLC                        XX-XXXXXXX
 18      South University of Ohio LLC                                  XX-XXXXXXX
 19      South University of Virginia, Inc.                            XX-XXXXXXX
 20      South University Research II LLC                              XX-XXXXXXX
 21      South University, LLC                                         XX-XXXXXXX
 22      Stautzenberger College Education Corporation                  XX-XXXXXXX
 23      TAIC-San Diego, Inc.                                          XX-XXXXXXX
 24      TAIC-San Francisco, Inc.                                      XX-XXXXXXX
 25      The Art Institutes International Minnesota, Inc.              XX-XXXXXXX
 26      The Art Institute of Atlanta, LLC                             XX-XXXXXXX
 27      The Art Institute of Austin, Inc.                             XX-XXXXXXX
 28      The Art Institute of California-Hollywood, Inc.               XX-XXXXXXX
 29      The Art Institute of California-Inland Empire, Inc.           XX-XXXXXXX



#49291498 v1
                Case 18-11494-LSS               Doc 9   Filed 07/03/18    Page 12 of 107




 30      The Art Institute of California - Los Angeles, Inc.             XX-XXXXXXX

 31      The Art Institute of California-Orange County, Inc.             XX-XXXXXXX

 32      The Art Institute of California-Sacramento, Inc.                XX-XXXXXXX
 33      The Art Institute of Charleston, Inc.                           XX-XXXXXXX
 34      The Art Institute of Charlotte, LLC                             XX-XXXXXXX
 35      The Art Institute of Colorado, Inc.                             XX-XXXXXXX
 36      The Art Institute of Dallas, Inc.                               XX-XXXXXXX
 37      The Art Institute of Fort Lauderdale, Inc.                      XX-XXXXXXX
 38      The Art Institute of Houston, Inc.                              XX-XXXXXXX
 39      The Art Institute of Indianapolis, LLC                          XX-XXXXXXX
 40      The Art Institute of Las Vegas, Inc.                            XX-XXXXXXX
 41      The Art Institute of Michigan, Inc.                             XX-XXXXXXX
 42      The Art Institute of Philadelphia LLC                           XX-XXXXXXX
 43      The Art Institute of Pittsburgh LLC                             XX-XXXXXXX
 44      The Art Institute of Portland, Inc.                             XX-XXXXXXX
 45      The Art Institute of Raleigh-Durham, Inc.                       XX-XXXXXXX

 46      The Art Institute of St. Louis, Inc.                            XX-XXXXXXX
 47      The Art Institute of San Antonio, Inc.                          XX-XXXXXXX
 48      The Art Institute of Seattle, Inc.                              XX-XXXXXXX
 49      The Art Institute of Tampa, Inc.                                XX-XXXXXXX
 50      The Art Institute of Tennessee-Nashville, Inc.                  XX-XXXXXXX
 51      The Art Institute of Virginia Beach LLC                         XX-XXXXXXX
 52      The Art Institute of Washington, Inc.                           XX-XXXXXXX
 53      The Art Institutes International II LLC                         XX-XXXXXXX
 54      The Illinois Institute of Art at Schaumburg, Inc.               XX-XXXXXXX
 55      The Illinois Institute of Art, Inc.                             XX-XXXXXXX
 56      The Institute of Post-Secondary Education, Inc.                 XX-XXXXXXX

 57      The New England Institute of Art, LLC                           XX-XXXXXXX

 58      The University of Sarasota, Inc.                                XX-XXXXXXX

 59      Western State University of Southern California                 XX-XXXXXXX




#49291498 v1
                                          Case 18-11494-LSS                                    Doc 9              Filed 07/03/18                        Page 13 of 107


 Fill in this information to identify the case:

             Education Management II LLC
 Debtor name _________________________________________________________________

                                                                             Delaware
 United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                  (State)
 Case number (If known):               18-11494
                                      _________________________


                                                                                                                                                                                                   Check if this is an
                                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                           12/15




Part 1:          Summary of Assets


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                           200,800.42
                                                                                                                                                                                                  $ ________________
          Copy line 88 from Schedule A/B ......................................................................................................................................
                                                                                                                                                                                                     Plus Unknown

     1b. Total personal property:
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                  $ ________________
          Copy line 91A from Schedule A/B ....................................................................................................................................                       Plus Unknown

     1c. Total of all property:
                                                                                                                                                                                                           200,800.42
                                                                                                                                                                                                  $ ________________
          Copy line 92 from Schedule A/B ......................................................................................................................................                      Plus Unknown




Part 2:          Summary of Liabilities




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                       566,890,806.29
                                                                                                                                                                                                  $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ..............................................
                                                                                                                                                                                                     Plus Unknown
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
          Copy the total claims from Part 1 from line 5a of Schedule E/F .....................................................................................
                                                                                                                                                                                                           487,715.51
                                                                                                                                                                                                  $ ________________
                                                                                                                                                                                                     Plus Unknown
     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                              +         13,091,037.35
                                                                                                                                                                                                  $ ________________
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ..........................................................
                                                                                                                                                                                                     Plus Unknown



4. Total liabilities ......................................................................................................................................................................
                                                                                                                                                                                                       580,469,559.15
                                                                                                                                                                                                  $ ________________
     Lines 2 + 3a + 3b                                                                                                                                                                               Plus Unknown




  Official Form 206Sum                                       Summary of Assets and Liabilities for Non-Individuals                                                                                     page 1
                                Case 18-11494-LSS               Doc 9        Filed 07/03/18           Page 14 of 107
  Fill in this information to identify the case:

               Education Management II LLC
  Debtor name __________________________________________________________________

  United States Bankruptcy Court for the:_______________________ District of ________
                                                                             (State)
  Case number (If known):     18-11494
                              _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
   ✔
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                 Last 4 digits of account number
          See attached
   3.1. _________________________________________________ ______________________               ____ ____ ____ ____                           200,800.42
                                                                                                                                 $______________________
   3.2. _________________________________________________ ______________________               ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                    $______________________
   4.2. _____________________________________________________________________________________________________                    $______________________

5. Total of Part 1                                                                                                                            200,800.42
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   
   ✔      No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
        See Global Notes
   7.1. ________________________________________________________________________________________________________                  $______________________
   7.2._________________________________________________________________________________________________________                  $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                   page 1
                             Case 18-11494-LSS      Doc 9     Filed 07/03/18   Page 15 of 107



Education Management II LLC                                                    Case Number:          18-11494

 Part 1:   Schedule A/B: Assets - Real and Personal Property
             Cash and cash equivalents
3. Checking, savings, money market, or financial brokerage accounts

            Name of Institution (bank                                            Last 4 digits of     Current value of
              or brokerage firm)                   Type of Account              account number        debtor's interest

3.1        PNC                          Education Management LLC Aetna                        7162                  $0.00
3.2        Bank of America              OHE Collections Local Operating                       7882                  $0.00
3.3        BNP Paribas                  LOC Cash Collateral                                   3066                  $0.00
3.4        Bank of America              P‐card Program Collateral                             8821                  $0.00
3.5        Bancorp Bank                 Pay Card Funding Account                              1130                  $0.00
3.6        Bank of America              Concentration Account                                 8936            $150,483.00
3.7        PNC                          Concentration Account                                 6594             $25,000.00
3.8        PNC                          ADP                                                   4717                  $0.00
3.9        PNC                          Controlled Disbursement                               5787             $25,317.42
3.10       PNC                          Controlled Disbursement                               5832                  $0.00

                                                                                             TOTAL            $200,800.42
                                Case 18-11494-LSS                 Doc 9        Filed 07/03/18             Page 16 of 107
Debtor         Education Management II LLC
               _______________________________________________________                                                 18-11494
                                                                                                Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?
    ✔ No. Go to Part 4.
    
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........ Î                $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........ Î                $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
    ✔ Yes. Fill in the information below.
    
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
          None
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
         See attached
   15.1._______________________________________________________________            ________%            _____________________                         0.00
                                                                                                                                 $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
         None
   16.1.________________________________________________________________________________                ______________________    $_______________________
   16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4                                                                                                                                 0.00
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 2
                        Case 18-11494-LSS           Doc 9     Filed 07/03/18   Page 17 of 107

Education Management II LLC                                                    Case Number: 18-11494

Part 4:
          Schedule A/B: Assets - Real and Personal Property
          Investments
15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture


                                                         % of         Valuation method used for   Current value of
                        Name of entity                 ownership             current value        debtor's interest

15.1      Education Finance III LLC                         100.0%                                            $0.00
15.2      The Art Institutes International II LLC           100.0%                                            $0.00
15.3      South University, LLC                             100.0%                                            $0.00
15.4      Education Management Escrow LLC                   100.0%                                            $0.00
15.5      Brown Mackie Education II LLC                     100.0%                                            $0.00
15.6      Argosy University of California LLC               100.0%                                            $0.00
15.7      Higher Education Services II LLC                  100.0%                                            $0.00
15.8      South University Research II LLC                  100.0%                                            $0.00
15.9      BMC Real Property Holdings LLC                    100.0%                                            $0.00
15.10     AIIM Restaurant, Inc.                             100.0%                                            $0.00
15.11     EDMC Marketing and Advertising, Inc.              100.0%                                            $0.00

                                                                                         TOTAL                $0.00
                             Case 18-11494-LSS                   Doc 9     Filed 07/03/18         Page 18 of 107
Debtor          Education Management II LLC
                _______________________________________________________                                          18-11494
                                                                                          Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    
    ✔ No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last      Net book value of    Valuation method used         Current value of
                                                    physical inventory    debtor's interest    for current value             debtor’s interest
                                                                          (Where available)
19. Raw materials
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

20. Work in progress
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________


23. Total of Part 5                                                                                                         $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    
    ✔ No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                 Net book value of    Valuation method used         Current value of debtor’s
                                                                          debtor's interest    for current value             interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

   ______________________________________________________________          $________________     ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________          $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________          $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________      $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                               page 3
                              Case 18-11494-LSS                   Doc 9        Filed 07/03/18         Page 19 of 107
Debtor          Education Management II LLC
               _______________________________________________________                                               18-11494
                                                                                              Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
    
    ✔ Yes. Fill in the information below.


   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture
    See attached
   ______________________________________________________________              $________________     ____________________                        0.00
                                                                                                                               $______________________

40. Office fixtures

    None
   ______________________________________________________________              $________________     ____________________      $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
    None
   ______________________________________________________________              $________________     ____________________      $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
        None
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.
                                                                                                                                                   0.00
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
    ✔ No
    
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    
    ✔ No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 4
                             Case 18-11494-LSS              Doc 9      Filed 07/03/18            Page 20 of 107

Education Management II LLC                                                                       Case Number: 18-11494

Part 7:
          Schedule A/B: Assets - Real and Personal Property
          Office furniture, fixtures, and equipment; and collectibles
39. Office furniture

                                                                    Net book value of
                                                                     debtor's interest         Valuation method       Current value of
                            General description                     (Where available)        used for current value   debtor's interest

39.1      Qty 1:  Small work table                                                                                                  $0.00
39.2      Qty 4:  Office desk/table                                                                                                 $0.00
39.3      Qty 1:  U shape desk with overhead cabinet                                                                                $0.00
39.4      Qty 9:  L desk with overhead cabinet                                                                                      $0.00
39.5      Qty 1:  Desk with overhead cabinet                                             :                                          $0.00
39.6      Qty 1:  L desk with 5' extension                                                                                          $0.00
39.7      Qty 1:  T‐shaped secretary desk                                                                                           $0.00
39.8      Qty 6:  Credenza                                                                                                          $0.00
39.9      Qty 1:  3 pc. Wall unit                                                                                                   $0.00
39.10     Qty 28:  15" 2/3 drawer file                                                                                              $0.00
39.11     Qty 25:  Office chair                                                                                                     $0.00
39.12     Qty 46:  Chair                                                                                                            $0.00
39.13     Qty 2:  Work chair with wheels                                                                                            $0.00
39.14     Qty 3:  18" 3/4 drawer tall file                                                                                          $0.00
39.15     Qty 4:  15" 3/4 drawer tall file                                                                                          $0.00
39.16     Qty 4:  30" 2 drawer file with overhead cabinet                                                                           $0.00
39.17     Qty 9:  30" 2 drawer file                                                                                                 $0.00
39.18     Qty 6:  4 drawer file                                                                                                     $0.00
39.19     Qty 1:  5 drawer file                                                                                                     $0.00
39.20     Qty 1:  36" 2 drawer file                                                                                                 $0.00
39.21     Qty 12:  5 shelf book shelf                                                                                               $0.00
39.22     Qty 1:  4 shelf book shelf                                                                                                $0.00
39.23     Qty 1:  2 door cabinet ‐ 6 ft.                                                                                            $0.00
39.24     Qty 1:  Portable cabinet                                                                                                  $0.00
39.25     Qty 3:  Conference table                                                                                                  $0.00
39.26     Qty 1:  48" Sharp TV                                                                                                      $0.00
39.27     Qty 1:  30" end table                                                                                                     $0.00
39.28     Qty 1:  36" round table                                                                                                   $0.00
39.29     Qty 3:  Leather chair                                                                                                     $0.00
39.30     Qty 1:  Leather sofa                                                                                                      $0.00
39.31     Qty 1:  Screen                                                                                                            $0.00

                                                                                                             TOTAL                  $0.00
                             Case 18-11494-LSS                 Doc 9       Filed 07/03/18          Page 21 of 107
 Debtor         Education Management II LLC
                _______________________________________________________                                           18-11494
                                                                                           Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    
    ✔ No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________      ____________________       $______________________

   47.2___________________________________________________________          $________________      ____________________       $______________________

   47.3___________________________________________________________          $________________      ____________________       $______________________

   47.4___________________________________________________________          $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________       ____________________       $______________________

   48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________       ____________________       $______________________

   49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
                               Case 18-11494-LSS                    Doc 9         Filed 07/03/18         Page 22 of 107
Debtor           Education Management II LLC
                _______________________________________________________                                                 18-11494
                                                                                                 Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
    
    ✔ Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
         See attached                                                                                                                                     0.00
    55.1________________________________________            _________________     $_______________      ____________________        $_____________________

    55.2________________________________________            _________________     $_______________      ____________________        $_____________________

    55.3________________________________________            _________________     $_______________      ____________________        $_____________________

    55.4________________________________________            _________________     $_______________      ____________________        $_____________________

    55.5________________________________________            _________________     $_______________      ____________________        $_____________________

    55.6________________________________________            _________________     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                                  0.00
                                                                                                                                    $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    
    ✔     No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
    
    ✔ Yes. Fill in the information below.
   General description                                                           Net book value of     Valuation method             Current value of
                                                                                  debtor's interest     used for current value       debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
     None
    ______________________________________________________________                 $_________________    ______________________      $____________________

61. Internet domain names and websites
     See attached
    ______________________________________________________________                 $_________________    ______________________                        0.00
                                                                                                                                      $____________________

62. Licenses, franchises, and royalties
     None
    ______________________________________________________________                 $_________________    ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
     Student Records
    ______________________________________________________________                 $_________________    ______________________                        0.00
                                                                                                                                      $____________________

64. Other intangibles, or intellectual property
     None
    ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
     None
    ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.                                                                                                                                  0.00
                                                                                                                                     $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 6
                             Case 18-11494-LSS                   Doc 9     Filed 07/03/18    Page 23 of 107

Education Management II LLC                                                                        Case Number: 18-11494

Part 9: Schedule            A/B: Assets - Real and Personal Property
        Real property
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

        Description and location of property                     Nature and extent Net book          Valuation   Current value
        Include street address or other description such as      of debtor's interest value of       method used of debtor's
        Assessor Parcel Number (APN), and type of property
                                                                 in property          debtor's       for current interest
        (for example, acreage, factory warehouse, apartment or
        office building) if available
                                                                                      interest       value
                                                                                      (Where
                                                                                      available)


55.1    2200 East Germann Road, Chandler, AZ 85249               Leasehold                                                $0.00
55.2    4217 East Cotton Center                                  Sublease: Inovation Inc.                                 $0.00
55.3    4217 East Cotton Center                                  Sublease:  Konica                                        $0.00
55.4    4217 East Cotton Center                                  Sublease:  Avnet                                         $0.00
55.5    610 6th Ave, Pittsburgh, PA  15222                       Leasehold                                                $0.00
55.6    610 6th Ave, Pittsburgh, PA  15222                       Sublease:  Evoqua                                        $0.00
55.7    610 6th Ave, Pittsburgh, PA  15222                       Sublease:  System One                                    $0.00

                                                                                                     TOTAL                $0.00
                     Case 18-11494-LSS           Doc 9     Filed 07/03/18    Page 24 of 107



Education Management II LLC                                                  Case Number: 18-11494

Part 10: Schedule A/B: Assets - Real                      and Personal Property
         Intangibles and intellectual property
61. Internet domain names and websites

        General description                           Net book value of   Valuation method     Current value of
                                                      debtor's interest   used for current     debtor's interest
                                                      (Where available)   value


61.1    edmc.com ‐ 1/14/2019                                                                                 $0.00
61.2    edmc‐online.com ‐ 7/19/2019                                                                          $0.00
61.3    ohemilitary.com ‐ 8/10/2018                                                                          $0.00
61.4    ohemilitary.org ‐ 8/10/2018                                                                          $0.00
61.5    onlinehighereducationmilitaryconsortium.com ‐ 8/10/2018                                              $0.00
61.6    onlinehighereducationmilitaryconsortium.org ‐ 8/10/2018                                              $0.00
61.7    edmc.edu ‐ not on the open market                                                                    $0.00

                                                                                       TOTAL                 $0.00
                                 Case 18-11494-LSS               Doc 9       Filed 07/03/18              Page 25 of 107
Debtor           Education Management II LLC
                _______________________________________________________                                                18-11494
                                                                                                Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
    
    ✔    Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔    No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔    No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
    
    ✔     Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)
     None
                                                                    _______________     –   __________________________         =Î   $_____________________
    ______________________________________________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

     None
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
     None
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     See attached
    ______________________________________________________________                                                                                 Unknown
                                                                                                                                    $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
     None
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property
     None
    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   None
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________
78. Total of Part 11.
                                                                                                                                                 Unknown
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔    No
        Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 7
                    Case 18-11494-LSS              Doc 9       Filed 07/03/18      Page 26 of 107




Education Management II LLC                                                    Case Number: 18-11494

Part 11:   Schedule A/B: Assets - Real and Personal Property
           All other assets
74. Causes of action against third parties (whether or not a lawsuit has been filed)

                                                                                  Amount        Current value of
                        Description and Nature of claim                          requested      debtor's interest

74.1       Potential claims against Dream Center Education Holdings LLC                                   unknown
           and/or related entities arising under or as a result of an asset 
           purchase agreement entered into by and between debtor, 
           related entities, Dream Center Education Holdings LLC and 
           related entities.


                                                                                        TOTAL             unknown
                                    Case 18-11494-LSS                            Doc 9           Filed 07/03/18                   Page 27 of 107
Debtor            Education Management II LLC
                  _______________________________________________________                                                                     18-11494
                                                                                                                       Case number (if known)_____________________________________
                  Name




Part 12:        Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property

                                                                                                             200,800.42
                                                                                                       $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.


81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________


83. Investments. Copy line 17, Part 4.                                                                              0.00
                                                                                                       $_______________

84. Inventory. Copy line 23, Part 5.                                                                   $_______________

85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                                    0.00
                                                                                                       $_______________
    Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                                          0.00
88. Real property. Copy line 56, Part 9. . .................................................................................. Î              $________________

                                                                                                                    0.00
                                                                                                       $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                                      +            Unknown
                                                                                                       $_______________


                                                                                                             200,800.42                                  0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................             200,800.42
                                                                                                                                                                 $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
 Fill in this information toCase  18-11494-LSS
                            identify the case:                          Doc 9            Filed 07/03/18           Page 28 of 107
Debtor name      Education Management II, LLC
United States Bankruptcy Court for the:                                          District of   Delaware
                                                                                                (State)
Case number (If known):
                                 18-11494
                                                                                                                                                Check if this is an
Official Form 206D                                                                                                                              amended filing

Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

Part 1:                                                                                                                 Column A                               Column B
              List Creditors Who Have Secured Claims
                                                                                                                                 Amount of Claim         Value of collateral
2. List in alphabetical order all creditors who have secured claims.                                                                                     that supports this
                                                                                                                                     Do not deduct
If a creditor has more than one secured claim, list the creditor separately for each claim.                                               the value                   claim
2. 1      Creditor's name                                        Describe debtor's property that is subject to a lien
                                                                                                                                  $566,890,806.29                UNKNOWN
          US BANK NATIONAL ASSOCIATION, AS                       Substantially all assets
s2192
          ADMINISTRATIVE AND COLLATERAL AGENT
          Creditor's Mailing Address

          214 N TRYON STREET 26TH FLOOR
          CHARLOTTE, NC 28202




          Creditor's email address, if known
                                                                 Describe the lien
                                                                 VOLUNTARY SECURITY INTEREST GRANTED PURSUANT TO CREDIT AGREEMENT AND
          Date debt was incurred                                 RELATED DOCUMENTS
          January 5, 2015

          Last 4 digits of account number
                                                                 Is the creditor an insider or related party?
          Unknown
                                                                      No
          Do multiple creditors have an interest in the               Yes
          same property?                                         Is anyone else liable on this claim?
              No                                                     No.
              Yes. Have you already specified the                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              relative priority?

                 No. Specify each creditor, including this       As of the petition filing date, the claim is:
                 creditor and its relative priority.
                                                                 Check all that apply.
                                                                    Contingent
                 Yes. The relative priority of creditors            Unliquidated
                 is specified on lines                              Disputed




Official Form 206D                            Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 4
Debtor
                            Case
           Education Management       18-11494-LSS
                                II, LLC                                Doc 9            Filed 07/03/18           Page 29 of 107
                                                                                                                             18-11494

          Name                                                                                                                  Case Number (if known)

Part 1:                                                                                                                  Column A                            Column B
                                                                                                                                Amount of Claim       Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                                                             that supports this
                                                                                                                                     Do not deduct
sequentially from the previous page.                                                                                                                               claim
                                                                                                                                          the value
2. 2     Creditor's name                                        Describe debtor's property that is subject to a lien
                                                                                                                                     UNKNOWN
         BANK OF AMERICA, N A AS COLLATERAL AGENT               #20150065150; All of the right, tltle and interest
s6071
                                                                of the Debtor…..
         Creditor's Mailing Address

         214 N TRYON STREET, NCI-027-21-01
         CHARLOTTE, NC 28255




         Creditor's email address, if known
                                                                Describe the lien
                                                                UCC FINANCING STATEMENT
         Date debt was incurred


         Last 4 digits of account number
                                                                Is the creditor an insider or related party?
                                                                     No
         Do multiple creditors have an interest in the               Yes
         same property?                                         Is anyone else liable on this claim?
             No                                                     No.
             Yes. Have you already specified the                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             relative priority?

                No. Specify each creditor, including this       As of the petition filing date, the claim is:
                creditor and its relative priority.
                                                                Check all that apply.
                                                                   Contingent
                Yes. The relative priority of creditors            Unliquidated
                is specified on lines                              Disputed




Official Form 206D                           Schedule D: Creditors Who Have Claims Secured by Property                                                page 2 of 4
Debtor
                             Case
            Education Management       18-11494-LSS
                                 II, LLC                                    Doc 9         Filed 07/03/18              Page 30 of 107
                                                                                                                                  18-11494

           Name                                                                                                                    Case Number (if known)

Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

    Name and address                                                                                     On which line in Part 1 did you                Last 4 digits of account
                                                                                                         enter the related creditor?                    number for this entity



     ALLEN & OVERY LLP                                                                                   s2192
     ATTN: JUDAH FROGEL
     1221 AVENUE OF THE AMERICAS
     NEW YORK, NY 10020

     MORRISON & FOERSTER LLP                                                                             s2192
     ATTN: GARY LEE
     250 WEST 55TH STREET
     NEW YORK, NY 10019-9601

     WINSTON & STRAWN, LLP                                                                               s2192
     ATTN: BART PISELLA
     200 PARK AVENUE
     NEW YORK, NY 10166-4193




Official Form 206D                          Schedule D: Creditors Who Have Claims Secured by Property                                                       page 3 of 4
                             Case 18-11494-LSS
          Education Management II, LLC
                                                          Doc 9      Filed 07/03/18           Page 31 of 107
                                                                                                          18-11494
Debtor
          Name                                                                                        Case Number (if known)

Part 3:     Total Amounts of the Claims Secured by Property

                                                                                                            Total of Claim Amounts


3a. Total of the dollar amounts from Part 1, Column A,
including the amounts from the Additional Page, if any.                                3a.                      $566,890,806.29
                                                                                                    ____________________________




Official Form 206D                Schedule D: Creditors Who Have Claims Secured by Property                                page 4 of 4
Fill in this information toCase  18-11494-LSS
                           identify the case:                   Doc 9          Filed 07/03/18                  Page 32 of 107
Debtor name   Education Management II, LLC
United States Bankruptcy Court for the:                                   District of   Delaware
                                                                                        (State)
Case number (If known):
                            18-11494
                                                                                                                                 Check if this is an
Official Form 206E/F                                                                                                             amended filing

Schedule E/F: Creditors Who Have Unsecured Claims                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official
Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the
Additional Page of that Part included in this form.

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                           Total Claim        Priority Amount
2.1        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                         $29,316.84               $29,316.84
s9441      ALLEN COUNTY TREASURER                              Check all that apply.
           PO BOX 2540                                            Contingent
           FORT WAYNE, IN 46801                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.2        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                             $75.00                      $75.00
s9447      ARIZONA DEPT OF REVENUE                             Check all that apply.
           PO BOX 29085                                           Contingent
           PHEONIX, AZ 85038                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.3        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                         $19,585.01               $19,585.01
s9450      BEXAR COUNTY TAX ASSESSOR                           Check all that apply.
           PO BOX 2903                                            Contingent
           SAN ANTONIO, TX 78299                                  Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 61
 Education ManagementCase
                     II, LLC18-11494-LSS                        Doc 9         Filed 07/03/18                   Page 33 of18-11494
                                                                                                                          107
  Debtor Name                                                                                                        Case Number (if known)

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                            Total Claim           Priority Amount
2.4        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                               $76.00                        $76.00
s9462      CITY OF HOPKINSVILLE KENTUCKY                       Check all that apply.
           PO BOX 707                                             Contingent
           715 S VIRGINIA STREET                                  Unliquidated
           HOPKINSVILLE, KY 42240                                 Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.5        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $24,185.34                $24,185.34
s9463      CITY OF MILWAUKEE                                   Check all that apply.
           200 E WELLS ST., ROOM 103                              Contingent
           MILWAUKEE, WI 53202                                    Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.6        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                              $560.00                   $560.00
s9464      CITY OF ORANGE                                      Check all that apply.
           BUSINESS LICENSE DIVISION                              Contingent
           PO BOX 11024                                           Unliquidated
           ORANGE, CA 92856                                       Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.7        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $17,271.50                $17,271.50
s9470      COMMONWEALLTH OF KENTUCKY                           Check all that apply.
           501 HIGH STREET                                        Contingent
           4TH FLOOR                                              Unliquidated
           FRANKFORT, KY 40620                                    Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 2 of 61
 Education ManagementCase
                     II, LLC18-11494-LSS                        Doc 9         Filed 07/03/18                   Page 34 of18-11494
                                                                                                                          107
  Debtor Name                                                                                                        Case Number (if known)

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                            Total Claim           Priority Amount
2.8        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                              $215.55                   $215.55
s9473      COUNTY OF DURHAM                                    Check all that apply.
           PO BOX 3397                                            Contingent
           DURHAM, NC 27702                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.9        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $19,304.89                $19,304.89
s9474      COUNTY OF HENRICO, VA                               Check all that apply.
           PO BOX 3369                                            Contingent
           HENRICO, VA 23228                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.10       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $37,004.59                $37,004.59
s9477      DALLAS COUNTY TAX OFFICE                            Check all that apply.
           1201 ELM STREET, SUITE 2600                            Contingent
           DALLAS, TX 75270                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.11       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $30,763.83                $30,763.83
s9269      FULTON CO. TAX COMMISSIONER                         Check all that apply.
           P OP BOX 105052                                        Contingent
           ATLANTA, GA 30348-5052                                 Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 3 of 61
 Education ManagementCase
                     II, LLC18-11494-LSS                        Doc 9         Filed 07/03/18                   Page 35 of18-11494
                                                                                                                          107
 Debtor Name                                                                                                         Case Number (if known)

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                            Total Claim           Priority Amount
2.12       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $11,600.38                $11,600.38
s9495      GREENVILLE COUNTY TAX COLLECTOR                     Check all that apply.
           301 UNIVERSITY RIDGE, SUITE 700                        Contingent
           GREEENVILLE, SC 29601                                  Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.13       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $23,819.13                $23,819.13
s9525      KING COUNTY TREASURY                                Check all that apply.
           500 4TH AVE., ROOM 600                                 Contingent
           SEATTLE, WA 98104                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.14       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $22,336.80                $22,336.80
s9526      LA COUNTY TAX COLLECTOR                             Check all that apply.
           225 NORTH HILL ST ROOM 122                             Contingent
           LOS ANGELES, CA 00012                                  Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.15       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                            $7,558.80                  $7,558.80
s9529      LA PORTE COUNTY TREASURER                           Check all that apply.
           555 MICHIGAN AVE., SUITE 102                           Contingent
           LAPORTE, IN 46350                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 4 of 61
 Education ManagementCase
                     II, LLC18-11494-LSS                        Doc 9         Filed 07/03/18                   Page 36 of18-11494
                                                                                                                          107
 Debtor Name                                                                                                         Case Number (if known)

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                            Total Claim           Priority Amount
2.16       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                            $8,958.82                  $8,958.82
s9530      LAKE COUNTY TREASURER                               Check all that apply.
           2293 NORTH MAIN STREET                                 Contingent
           CROWN POINT, IN 46307                                  Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.17       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $36,948.96                $36,948.96
s9534      MARICOPA COUNTY TREASURER                           Check all that apply.
           PO BOX 52133                                           Contingent
           PHOENIX, AZ 85072                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.18       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $21,726.48                $21,726.48
s9535      MARION COUNTY TREASURER                             Check all that apply.
           PO BOX 6145                                            Contingent
           INDIANAPOLIS, IN 46206                                 Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.19       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $30,504.73                $30,504.73
s9294      RON WRIGHT                                          Check all that apply.
           TARRANT COUNTY TAX ASSESSOR                            Contingent
           100 E WEATHERFORD                                      Unliquidated
           FORT WORTH, TX 76196                                   Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 5 of 61
 Education ManagementCase
                     II, LLC18-11494-LSS                        Doc 9         Filed 07/03/18                   Page 37 of18-11494
                                                                                                                          107
 Debtor Name                                                                                                         Case Number (if known)

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                            Total Claim           Priority Amount
2.20       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $26,295.46                $26,295.46
s9581      ST JOSEPH COUNTY TREASURER                          Check all that apply.
           PO BOX 4758                                            Contingent
           SOUTH BEND, IN 46634                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.21       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                            $7,647.24                  $7,647.24
s9582      ST LOUIS COUNTY MISSOURI                            Check all that apply.
           41 S CENTRAL AVE                                       Contingent
           ST LOUIS, MO 63105                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.22       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                              $356.45                   $356.45
s9296      STATE OF CALIFORNIA FRANCHISE                       Check all that apply.
           TAX BOARD                                              Contingent
           PO BOX 942857                                          Unliquidated
           SACRAMENTO, CA 94257-0831                              Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.23       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $40,632.37                $40,632.37
s9587      TARRANT COUNTY TAX COLLECTOR                        Check all that apply.
           PO BOX 9610118                                         Contingent
           FORT WORTH, TX 76161                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 6 of 61
 Education ManagementCase
                     II, LLC18-11494-LSS                        Doc 9         Filed 07/03/18                   Page 38 of18-11494
                                                                                                                          107
 Debtor Name                                                                                                         Case Number (if known)

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                            Total Claim           Priority Amount
2.24       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $15,502.26                $15,502.26
s9594      TULSA COUNTY TREASURER                              Check all that apply.
           500 S DENVER AVE. 3RD FLOOR                            Contingent
           TULSA, OK 74103                                        Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TAXES & OTHER GOVT DEBTS

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes


2.25       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                           $55,469.08                $55,469.08
s9436      ADP PAYROLL AND PAYROLL TAXES                       Check all that apply.
           TAX FILING SERVICE                                     Contingent
           5800 WINDWARD PARKWAY                                  Unliquidated
           ALPHARETTA, GA 30005                                   Disputed


           Date or dates debt was incurred                     Basis for the claim:
                                                               TRADE PAYABLE

           Last 4 digits of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)                     Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 7 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                        Doc 9       Filed 07/03/18               Page 39 of18-11494
                                                                                                                     107
  Debtor Name                                                                                                         Case Number (if known)


Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                                  Amount of Claim

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
   unsecured claims, fill out and attach the Additional Page of Part 2.
3. 1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                          $976,965.94
s9180      CAZ 4 LLC                                                          Check all that apply.
           JENNIFER SHUMAKER                                                     Contingent
           DOUGLAS ALLRED COMPANY                                                Unliquidated
           11452 EL CAMINO REAL, SUITE 200                                       Disputed
           SAN DIEGO, CA 92130

           Date or dates debt was incurred                                    Basis for the claim:    LEASE
                                                                                                      TENURE ID: 1503-B-L001; PROPERTY: SHARED SERVICES -
           Last 4 digits of account number                                                            CHANDLER, 2200 EAST GERMANN ROAD, CHANDLER, AZ
                                                                                                      85249
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes


3. 2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                        $1,040,613.27
s9402      DELTA LIFE INSURANCE COMPANY                                       Check all that apply.
           JEFF DONOHUE                                                          Contingent
           4370 PEACHTREE ROAD NE                                                Unliquidated
           ATLANTA, GA 30319                                                     Disputed


           Date or dates debt was incurred                                    Basis for the claim:    LEASE
                                                                                                      TENURE ID: 6022-A-L001; PROPERTY: BROWN MACKIE
           Last 4 digits of account number                                                            COLLEGE - ATLANTA, 4370 PEACHTREE ROAD NE,
                                                                                                      ATLANTA, GA 30319
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes


3. 3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                        $1,262,470.80
s9412      LCP LIBERTY SQUARE, LLC                                            Check all that apply.
           STEPHANIA FOLGER                                                      Contingent
           4198 COX ROAD                                                         Unliquidated
           STE 201                                                               Disputed
           GLEN ALLEN, VA 23060

           Date or dates debt was incurred                                    Basis for the claim:    LEASE
                                                                                                      TENURE ID: 6043-A-L001; PROPERTY: BROWN MACKIE
           Last 4 digits of account number                                                            COLLEGE - GREENVILLE, 75 BEATTIE PLACE,
                                                                                                      GREENVILLE, SC 29601
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes


3. 4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                          $980,907.58
s9415      MWP2 LLC                                                           Check all that apply.
           MARIE DORRELL                                                         Contingent
           2632 MESILLA STREET NE                                                Unliquidated
           ALBUQUERQUE, NM 87110                                                 Disputed


           Date or dates debt was incurred                                    Basis for the claim:    LEASE
                                                                                                      TENURE ID: 6047-A-L001; PROPERTY: BROWN MACKIE
           Last 4 digits of account number                                                            COLLEGE - ALBUQUERQUE, 10500 COPPER AVENUE, N.E.,
                                                                                                      ALBUQUERQUE, NM 87123
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 8 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 40 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                              Amount of Claim
3. 5       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $3,170,799.35
s9178      ONE OLIVER ASSOCIATES LIMITED PARTNERSHIP                      Check all that apply.
           JOHN E CAPOZZI                                                    Contingent
           39400 WOODWARD                                                    Unliquidated
           SUITE 250                                                         Disputed
           BLOOMFIELD HILLS, MI 48304

           Date or dates debt was incurred                                Basis for the claim:    LEASE
                                                                                                  TENURE ID: 1002-A-L001; PROPERTY: EDMC - CORPORATE
           Last 4 digits of account number                                                        (HEADQUARTERS), 210 6TH AVENUE, PITTSBURGH, PA
                                                                                                  15222
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 6       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $449,154.44
s9394      VERNON FINANCIAL PROPERTIES                                    Check all that apply.
           18440 THOMPSON COURT, SUITE 203                                   Contingent
           TINLEY PARK, IL 60477                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    LEASE
                                                                                                  TENURE ID: 2060-A-L001; PROPERTY: THE ILLINOIS
           Last 4 digits of account number                                                        INSTITUTE OF ART - TINLEY PARK, 18670 GRAPHIC DRIVE,
                                                                                                  TINLEY PARK, IL 60477
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 7       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                                   $0.00
s9392      WDS GREEN OAKS LP                                              Check all that apply.
           PO BOX 203866                                                     Contingent
           DALLAS, TX 75320-3866                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    LEASE
                                                                                                  TENURE ID: 2058-A-L001; PROPERTY: THE ART INSTITUTE
           Last 4 digits of account number                                                        OF FORT WORTH, 7000 CALMONT AVENUE, FORT WORTH,
                                                                                                  TX 76116
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 8       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $2,452,878.48
s9179      WPT LAND 2LP                                                   Check all that apply.
           4416 EAST COTTON                                                  Contingent
           CENTER BOULEVARD                                                  Unliquidated
           PHOENIX, AZ 85040                                                 Disputed


           Date or dates debt was incurred                                Basis for the claim:    LEASE
                                                                                                  TENURE ID: 1502-A; PROPERTY: SHARED SERVICES -
           Last 4 digits of account number                                                        PHOENIX, 4217 EAST COTTON CENTER BOULEVARD,
                                                                                                  PHOENIX, AZ 85040
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 9 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 41 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 9       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        UNKNOWN
s9672      HANOVER PARTNERSHIP INVESTMENT XII, LLC                        Check all that apply.
           PAUL T CURL                                                       Contingent
           CURL STAHL GEIS A PROFESSIONAL CORPORATION                        Unliquidated
           700 NORTH ST. MARY`S STREET, SUITE 1800                           Disputed
           SAN ANTONIO, TX 78205

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 10      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        UNKNOWN
s9691      L REIT LTD.                                                    Check all that apply.
           EDGAR GOLDBERG                                                    Contingent
           6525 WASHINGTON AVENUE                                            Unliquidated
           HOUSTON, TX 77007                                                 Disputed


           Date or dates debt was incurred                                Basis for the claim:    LITIGATION

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 11      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        UNKNOWN
s9820      MAZZONI, JOHN                                                  Check all that apply.
           618 CIDERBERRY DRIVE                                              Contingent
           WEXFORD, PA 15090                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    POTENTIAL INDEMNIFICATION OBLIGATIONS

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 12      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        UNKNOWN
s9821      NELSON, TODD                                                   Check all that apply.
           3250 E TERE STREET                                                Contingent
           PHOENIX, AZ 85044                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    POTENTIAL INDEMNIFICATION OBLIGATIONS

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 10 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 42 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 13      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:

s9819      WEST, EDWARD                                                   Check all that apply.
           1750 SKY LARK LANE                                                Contingent
           UNIT 2818                                                         Unliquidated
           HOUSTON, TX 77056                                                 Disputed


           Date or dates debt was incurred                                Basis for the claim:    POTENTIAL INDEMNIFICATION OBLIGATIONS

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 14      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $0.00
s9331      EVOQUA WATER TECHNOLOGIES LLC                                  Check all that apply.
           NICOLE GRAY                                                       Contingent
           GC AND GLOBAL CORPORATE REAL ESTATE MANAGER                       Unliquidated
           210 SIXTH AVENUE, SUITE 3300                                      Disputed
           PITTSBURGH, PA 15222

           Date or dates debt was incurred                                Basis for the claim:    SUBLEASE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 15      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $0.00
s9332      SYSTEM ONE HOLDINGS, LLC                                       Check all that apply.
           DAVID J MORAN, CFO                                                Contingent
           210 SIXTH AVENUE                                                  Unliquidated
           SUITE 3100                                                        Disputed
           PITTSBURGH, PA 15222

           Date or dates debt was incurred                                Basis for the claim:    SUBLEASE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 16      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $960.00
s9433      ABLE BUILDING MAINTENANCE                                      Check all that apply.
           PO BOX 39000                                                      Contingent
           SAN FRANCISCO, CA 94139                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 11 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 43 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 17      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $6,175.76
s9434      ABM                                                            Check all that apply.
           PO BOX 951864                                                     Contingent
           DALLAS, TX 75395                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 18      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $31.00
s9238      ABSO                                                           Check all that apply.
           DBA A STERLING INFOSYSTEMS CO                                     Contingent
           BOB WANEN                                                         Unliquidated
           5750 WEST OAKS BLVD                                               Disputed
           STE 100
           ROCKLIN, CA 95765
           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 19      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $449.00
s9435      ACCUSHRED                                                      Check all that apply.
           1114 W CENTRAL AVE.                                               Contingent
           TOLEDP, OH 43610                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 20      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $7,928.23
s9437      AETNA                                                          Check all that apply.
           ONE PENNS WAY                                                     Contingent
           NEW CASTLE, DE 19720                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 12 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 44 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 21      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $97.38
s9239      AIRGAS INC                                                     Check all that apply.
           259 N RADNOR-CHESTER RD                                           Contingent
           RADNOR, PA 19317                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 22      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $296.56
s9438      AIRGAS USA                                                     Check all that apply.
           PO BOX 9249                                                       Contingent
           MARIETTA, GA 30065                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 23      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $9,965.00
s9439      ALABAMA POWER                                                  Check all that apply.
           1313 N, 6TH AVENUW                                                Contingent
           BIRMINGHAM, AL 35203                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 24      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $101.22
s9440      ALBUQUERQUE PUBLISHING CO                                      Check all that apply.
           7777 JEFFERSON ST NE                                              Contingent
           ALBUQUERQUE, NM 87109                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 13 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 45 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 25      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $505.18
s9442      ALLIANCE TRANSFER                                              Check all that apply.
           140 58YH STREET                                                   Contingent
           SUITE 2D                                                          Unliquidated
           BROOKLYN, NY 11220                                                Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 26      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $83.00
s9240      ALPHA SURETY AND INSURANCE                                     Check all that apply.
           BROKERAGE LLC                                                     Contingent
           EMILY ELEY                                                        Unliquidated
           650 S SHACKLEFORD RD                                              Disputed
           ONE FINANCIAL CENTRE, STE 325
           LITTLE ROCK, AR 72211-3546
           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 27      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $668.87
s9443      ALSTON HUNT FLOYD                                              Check all that apply.
           1001 BISHOP STREET                                                Contingent
           SUITE 1800                                                        Unliquidated
           HONOLULU, HI 96813                                                Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 28      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $18,075.33
s9444      AMEREN MISSOURI                                                Check all that apply.
           PO BOX 88068                                                      Contingent
           CHICAGO, IL 60680                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 14 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 46 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 29      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $60,750.00
s9445      AMERICAN ARBITRATION ASSOCIATION                               Check all that apply.
           13727 NOEL ROAD                                                   Contingent
           SUITE 700                                                         Unliquidated
           DALLAS, TX 75240                                                  Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 30      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $2,408.00
s9241      AMERICAN STOCK TRANSFER AND TRUST CO OPERATIONS                Check all that apply.
           CTR                                                               Contingent
           6201 15TH AVE                                                     Unliquidated
           BROOKLYN, NY 11219                                                Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 31      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $2,790.84
s9242      ANITA HENRY, RTA                                               Check all that apply.
           CYPRESS-FAIRBANKS ISD TAX                                         Contingent
           ASSESSOR-COLLECTOR                                                Unliquidated
           PO BOX 203908                                                     Disputed
           HOUSTON, TX 77216-3908

           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 32      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $42,825.04
s9446      ANN HARRIS BENNETT TAX COLLECTOR                               Check all that apply.
           PO BOX 4622                                                       Contingent
           HOUSTON, TX 77210                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 15 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 47 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 33      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $16,496.82
s9448      ARMSTRONG TEASDALE LLP                                         Check all that apply.
           2345 GRAND BOULEVARD                                              Contingent
           SUITE 1500                                                        Unliquidated
           KANSAS CITY, MO 64108-2617                                        Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 34      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $227,250.25
s9449      ATWELL, CURTISE & BROOKS                                       Check all that apply.
           204 STONEHINGE LANE                                               Contingent
           CARLE PLACE, NY 11514                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 35      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,275.00
s9243      BACCARE & ASSOCIATES LLC                                       Check all that apply.
           JEFFREY A BACCARE                                                 Contingent
           320 CHEWS LANDING ROAD                                            Unliquidated
           HADDONFIELD, NJ 08033                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 36      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $7,089.83
s9451      BICKERSTAFF HEATH DELGADO ACOSTA                               Check all that apply.
           3711 S MO-PAC EXPY                                                Contingent
           BUILDING 1, SUITE 300                                             Unliquidated
           AUSTIN, TX 78746                                                  Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 16 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 48 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 37      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $2,500.00
s9246      BLOOMBERG FINANCE LP                                           Check all that apply.
           PO BOX 416604                                                     Contingent
           BOSTON, MA 02241-6604                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 38      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,485.00
s9452      BLOOMBERG FINANCE                                              Check all that apply.
           PO BOX 416604                                                     Contingent
           BOSTON, MA 02241                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 39      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $7,000.00
s9453      BNY MELLON                                                     Check all that apply.
           BANK OF NEW YORK MELLON                                           Contingent
           CORPORATE TRUST DEPARTMENT                                        Unliquidated
           PO BOX 392013                                                     Disputed
           PITTSBURGH, PA 15251-9013

           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 40      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $40,500.00
s9247      BRUNNER, BLACKSTONE & ASSOC                                    Check all that apply.
           CRANBERRY PROFESSIONAL PARK                                       Contingent
           401 SMITH DRIVE SUITE 140                                         Unliquidated
           CRANBERRY TOWNSHIP, PA 16066-4132                                 Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 17 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 49 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 41      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $7,000.00
s9454      BRUNNER,BLACKSTONE & ASSOCIATES                                Check all that apply.
           401 SMITH DRIVE                                                   Contingent
           SUITE 140                                                         Unliquidated
           CRANBERRY TWP, PA 16066                                           Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 42      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $12,595.00
s9248      BURR & FORMAN LLP                                              Check all that apply.
           REBEKAH MASER                                                     Contingent
           420 NORTH 20TH STREET                                             Unliquidated
           SUITE 3400                                                        Disputed
           BIRMINGHAM, AL 35203

           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 43      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $45,000.00
s9249      CA COALITION OF ACCREDITED                                     Check all that apply.
           CAREER SCHOOLS                                                    Contingent
           LAURA BROWN                                                       Unliquidated
           5072 WESTBURY CIRCLE                                              Disputed
           GRANITE BAY, CA 95746

           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 44      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $139,707.36
s9250      CALERO SOFTWARE LLC                                            Check all that apply.
           PO BOX 10193                                                      Contingent
           ATLANTA, GA 30392-1193                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 18 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 50 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 45      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $7,731.90
s9455      CALIF DEPT OF TAX AND ADMIN                                    Check all that apply.
           PO BOX 942879                                                     Contingent
           SACRAMENT, 94279                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 46      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,428.48
s9251      CALIFORNIA STATE CONTROLLER`S                                  Check all that apply.
           OFFICE                                                            Contingent
           UNCLAIMED PROPERTY DIVISION                                       Unliquidated
           ACCOUNTING BUREAU                                                 Disputed
           PO BOX 942850
           SACARAMENTO, CA 94250-5873
           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 47      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $5,500.00
s9252      CAPITOL PARTNERS PUBLIC                                        Check all that apply.
           AFFAIRS GROUP                                                     Contingent
           4200 NORTHSIDE PKWY NW BLDG 12                                    Unliquidated
           ATLANTA, GA 30327                                                 Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 48      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $10,719.41
s9456      CBRE                                                           Check all that apply.
           PO BOX 848844                                                     Contingent
           LOS ANGELES, CA 90084                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 19 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 51 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 49      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $969.00
s9457      CENGAGE LEARNING                                               Check all that apply.
           10650 TOEBBEN DRIVE                                               Contingent
           INDEPENDENCE, KY 41051                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 50      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $306.00
s9253      CENGAGE LEARNING                                               Check all that apply.
           PO BOX 95999                                                      Contingent
           CHICAGO, IL 60694-5999                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 51      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $337.26
s9458      CHAPMAN/ LEONARD                                               Check all that apply.
           PO BOX 731217                                                     Contingent
           DALLAS, TX 75373                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 52      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $195.50
s9459      CHEF WORKS                                                     Check all that apply.
           12325 KERRAN ST                                                   Contingent
           POWAY, CA 92064                                                   Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 20 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 52 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 53      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $424.00
s9460      CHULA-VISTA LANDSCAPING                                        Check all that apply.
           7011 N CAMINO MARTIN                                              Contingent
           TUCSON, AZ 85741                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 54      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $2,932.60
s9461      CINCINNATI BELL                                                Check all that apply.
           PO BOX 748003                                                     Contingent
           CINCINNATI, OH 45274                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 55      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $516.75
s9465      CITY OF SALINA                                                 Check all that apply.
           PO BOX 1307                                                       Contingent
           SALINA, KS 67402                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 56      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $16.29
s9254      CITY OF SALINA                                                 Check all that apply.
           PO BOX 1307                                                       Contingent
           SALINA, KS 67402-1307                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 21 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 53 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 57      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $195.88
s9255      CITY OF SEATTLE                                                Check all that apply.
           PO BOX 34907                                                      Contingent
           SEATTLE, WA 98124-1907                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 58      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                           ($44.88)
s9466      CITY OF TUCSON                                                 Check all that apply.
           LICENSE SECTION                                                   Contingent
           PO BOX 27210                                                      Unliquidated
           TUCSON, AZ 85726                                                  Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 59      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $8,280.00
s9467      CLARK HILL                                                     Check all that apply.
           151 S OLD WOODWARD AVE.                                           Contingent
           SUITE 200                                                         Unliquidated
           BIRMINGHAM, MI 48009                                              Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 60      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $404.20
s9468      COHEN & GRIGSBY                                                Check all that apply.
           625 LIBERTY AVE.                                                  Contingent
           PITTSBURGH, PA 15222                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 22 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 54 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 61      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $621.28
s9469      COMED                                                          Check all that apply.
           PO BOX 6111                                                       Contingent
           CARIL STREAM, IL 60197                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 62      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $61.96
s9256      COMPUTERSHARE INC                                              Check all that apply.
           DEPT CH 16934                                                     Contingent
           PALATINE, IL 60055-6934                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 63      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $321.93
s9471      COMPUTERSHARE                                                  Check all that apply.
           100 UNIVERSITY AVE.                                               Contingent
           11TH FLOOR                                                        Unliquidated
           TORONTO, ON M5J2Y1                                                Disputed
           CANADA

           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 64      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $703.63
s9257      CONCORD COMMERCIAL SERVICES IN                                 Check all that apply.
           ALAN GREENWOOD                                                    Contingent
           11400 LONG STREET                                                 Unliquidated
           BALCH SPRINGS, TX 75180                                           Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 23 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 55 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 65      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,110.03
s9258      CORT FURNITURE RENTALS                                         Check all that apply.
           7400 SQUIRE COURT                                                 Contingent
           WEST CHESTER, OH 45069                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 66      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,500.81
s9472      CORT                                                           Check all that apply.
           PO BOX 17401                                                      Contingent
           BALTIMORE, MD 21297                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 67      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $5,047.78
s9259      COX CASTLE & NICHOLSON LLP                                     Check all that apply.
           IDA HERNANDEZ                                                     Contingent
           2029 CENTURY PARK EAST                                            Unliquidated
           SUITE2100                                                         Disputed
           LOS ANGELES, CA 90067

           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 68      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $30,000.00
s9260      CROWE HORWATH LLP                                              Check all that apply.
           PO BOX 71570                                                      Contingent
           CHICAGO, IL 60694-1570                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 24 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 56 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 69      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $613.82
s9261      CSC                                                            Check all that apply.
           PO BOX 13397                                                      Contingent
           PHILADELPHIA, PA 19101-3397                                       Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 70      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $3,851.36
s9476      CYPRESS FAIRBANKS TAX ACCESSOR                                 Check all that apply.
           PO BOX 203908                                                     Contingent
           HOUSTON, TX 77216                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 71      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $155.00
s9478      DARPRO                                                         Check all that apply.
           PO BOX 530401                                                     Contingent
           ATLANTA, GA 30353                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 72      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $239.60
s9479      DIRECT TV                                                      Check all that apply.
           PO BOX 5006                                                       Contingent
           CAROL STREAM, IL 60197                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 25 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 57 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 73      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $2,784.64
s9480      DRIGGERS, SCHULTZ & HERBST                                     Check all that apply.
           2600 WEST BIG BEAVER ROAD                                         Contingent
           SUITE 550                                                         Unliquidated
           TROY, MI 48084                                                    Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 74      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $3,815.06
s9481      DUKE ENERGY                                                    Check all that apply.
           PO BOX 1326                                                       Contingent
           CHARLOTTE, NC 28201                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 75      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $3,596.71
s9482      DUQUESNE LIGHT CO                                              Check all that apply.
           PO BOX 10                                                         Contingent
           PITTSBURGH, PA 15230                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 76      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $7,345.78
s9262      DUQUESNE LIGHT COMPANY                                         Check all that apply.
           ATTN: CHRIS NAVADAUSKAS                                           Contingent
           2825 NEW BEAVER AVENUE N6-CS                                      Unliquidated
           PITTSBURGH, PA 15233                                              Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 26 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 58 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 77      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $59.80
s9483      EDUCATIONAL DATA SYSTEMS, INC                                  Check all that apply.
           PO BOX 866246                                                     Contingent
           PLANO, TX 75086                                                   Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 78      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $2,097.00
s9263      ENCORE ONE LLC                                                 Check all that apply.
           DBA MARSDEN BLDG MAINTENANCE                                      Contingent
           GEORGE REAR                                                       Unliquidated
           1717 UNIVERSITY AVENUE                                            Disputed
           ST PAUL, MN 55104

           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 79      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $360,124.40
s9264      ENTIT SOFTWARE                                                 Check all that apply.
           PO BOX 936224                                                     Contingent
           ATLANT, GA 31193-6224                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 80      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $8,500.00
s9484      ERNST & YOUNG                                                  Check all that apply.
           PO BOX 640382                                                     Contingent
           PITTSBURGH, PA 15264-0382                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 27 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 59 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 81      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $35.00
s9265      FALZON PRODUCTIONS LLC                                         Check all that apply.
           48325 MAPLEHURST DR                                               Contingent
           SHELBY TOWNSHIP, MI 48317                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 82      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $7,578.47
s9485      FEDEX                                                          Check all that apply.
           PO BOX 371461                                                     Contingent
           PITTSBURGH, PA 15250                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 83      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $97.13
s9266      FIRSTMARK SERVICES LLC                                         Check all that apply.
           121 S 13TH STREET                                                 Contingent
           STE 201                                                           Unliquidated
           LINCOLN, NE 68508                                                 Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 84      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $97,987.32
s9267      FISHER & PHILLIPS LLP                                          Check all that apply.
           101 EAST KENNEDY BOULEVARD                                        Contingent
           SUITE 2350                                                        Unliquidated
           TAMPA, FL 33602                                                   Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 28 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 60 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 85      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $837.40
s9487      FLAT WORLD                                                     Check all that apply.
           DEPT CH 17036                                                     Contingent
           PALATINE, IL 60055                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 86      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $11,724.74
s9268      FOLEY HOAG LLP                                                 Check all that apply.
           SEAPORT WEST                                                      Contingent
           155 SEAPORT BLVD                                                  Unliquidated
           BOSTON, MA 02210-2600                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 87      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $16,130.44
s9489      FOREST FREEMAN COUNTY TREASURER                                Check all that apply.
           PO BOX 268875                                                     Contingent
           OKLAHOMA CITY, OK 73126                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 88      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $3,088.64
s9490      FP MAILING SOLUTIONS                                           Check all that apply.
           PO BOX 157                                                        Contingent
           BEDFORD PARK, IL 60499                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 29 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 61 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 89      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            ($6.24)
s9491      FRONTIER                                                       Check all that apply.
           PO BOX 5157                                                       Contingent
           TAMPA, FL 33675                                                   Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 90      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $242.72
s9493      GATE HOUSE MEDIA                                               Check all that apply.
           PO BOX 845908                                                     Contingent
           BOSTON, MA 02284                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 91      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $70.02
s9494      GRAINGER                                                       Check all that apply.
           DEPT 873030779                                                    Contingent
           PALATINE, IL 60038                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 92      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $200.39
s9496      GUILFORD COUNTY TAX OFFICE                                     Check all that apply.
           PO BOX 71072                                                      Contingent
           CHARLOTTE, NC 28272                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 30 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 62 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 93      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $29.77
s9497      HEARTLAND ECSI                                                 Check all that apply.
           PO BOX 14.40                                                      Contingent
           WINSTON-SALEM, NC 27102                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 94      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $5,000.00
s9498      HENDERSON BROTHERS                                             Check all that apply.
           920 FT DUQUESNE BLVD                                              Contingent
           PITTSBURGH, PA 15222                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 95      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $243.00
s9499      HENNEPIN COUNTY                                                Check all that apply.
           300 SOUTH SIXTH STREET                                            Contingent
           MAIL CODE 129                                                     Unliquidated
           MINNEAPOLIS, MN 55487                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 96      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $16.73
s9500      HENRY SCHEIN VETERINARY SOLUTIONS                              Check all that apply.
           304 OHIO STREET                                                   Contingent
           OSHKOSH, WI 54902                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 31 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 63 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 97      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $140,713.82
s9270      HIGHMARK CASUALTY INSURANCE CO                                 Check all that apply.
           PO BOX 535061                                                     Contingent
           PITTSBURGH, PA 15253-5061                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 98      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $10,286.67
s9501      HINES                                                          Check all that apply.
           TRI CITY ACQUISITIONS PARTNERS                                    Contingent
           PO BOX 843984                                                     Unliquidated
           LOS ANGELES, CA 90084                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 99      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $174,312.76
s9502      HOMER BONNER JACOBS                                            Check all that apply.
           1441 BRICKELL AVENUE                                              Contingent
           SUITE 120                                                         Unliquidated
           MIAMI, FL 33131                                                   Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 100     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $3,417.32
s9271      HOMERBONNER PA                                                 Check all that apply.
           1441 BRICKELL AVENUE                                              Contingent
           SUITE 1200                                                        Unliquidated
           MIAMI, FL 33131                                                   Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 32 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 64 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 101     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,789.25
s9503      HUSCH BLACKWELL                                                Check all that apply.
           PO BOX 802765                                                     Contingent
           KANSAS CITY, MO 64180                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 102     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $2,700.23
s9504      IDAHO POWER                                                    Check all that apply.
           PO BOX 34966                                                      Contingent
           SEATTLE, WA 98124                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 103     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,575.00
s9272      IDENTISYS INC                                                  Check all that apply.
           PO BOX 1086                                                       Contingent
           MINNETONKA, MN 55345-0086                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 104     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          ($214.03)
s9505      IDEXX DISTRIBUTION,INC                                         Check all that apply.
           PO BOX 101327                                                     Contingent
           ATLANTA, GA 30392                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 33 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 65 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 105     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                                $5.93
s9506      ILLINOIS DEPT OF EMPLOYMENT SECURITY                           Check all that apply.
           33 S STATE ST.                                                    Contingent
           10TH FLOOR                                                        Unliquidated
           CHICAGO, IL 60603                                                 Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 106     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $38.31
s9507      IMPACT TELECOM                                                 Check all that apply.
           PO BOX 608635824                                                  Contingent
           DALLAS, TX 75266                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 107     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $6,040.09
s9273      INDIANA MICHIGAN POWER                                         Check all that apply.
           PO BOX 24411                                                      Contingent
           CANTON, OH 44701-4411                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 108     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $330.86
s9274      INNERWORKINGS, INC.                                            Check all that apply.
           JOE RODRIGUEZ AND KATHY BENO                                      Contingent
           600 W CHICAGO AVE.                                                Unliquidated
           SUITE # 850                                                       Disputed
           CHICAGO, IL 60610

           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 34 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 66 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 109     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,335.50
s9275      INTERMOUNTAIN GAS COMPANY                                      Check all that apply.
           PO BOX 5600                                                       Contingent
           BISMARK, ND 58506-5600                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 110     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $157,820.00
s9510      INTERNAL REVENUE SERVICE                                       Check all that apply.
           1973 NORTH RULON WHITE BLVD                                       Contingent
           OGDEN, UT 84201-0062                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 111     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $501.56
s9511      INTRALINKS HOLDINGS, INC                                       Check all that apply.
           PO BOX 392134                                                     Contingent
           PITTSBURGH, PA 15251                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 112     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $11,570.39
s9512      IRON MOUNTAIN                                                  Check all that apply.
           PO BOX 27128                                                      Contingent
           NEW YORK, NY 10087                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 35 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 67 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 113     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $2,220.26
s9513      JACKSON LEWIS                                                  Check all that apply.
           220 HEADQUARTERS PLAZA                                            Contingent
           EAST TOWERS 7TH FLOOR                                             Unliquidated
           MORRISTOWN, NJ 07960                                              Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 114     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $10,909.76
s9514      JAMS                                                           Check all that apply.
           18881 VON KARMAN AVE                                              Contingent
           SUITE 350                                                         Unliquidated
           IRVINE, CA 92612                                                  Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 115     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $619.57
s9515      JEA                                                            Check all that apply.
           21 WEST CHURCH STREET                                             Contingent
           JACKSONVILLE, FL 32202                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 116     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $18,161.50
s9516      JK MOVING                                                      Check all that apply.
           44112 MERCURE CIRCLE                                              Contingent
           STERLING, VA 20166                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 36 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 68 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 117     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $19.00
s9517      JOHN WILEY AND SONS                                            Check all that apply.
           PO BOX 416502                                                     Contingent
           BOSTON, MA 16502                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 118     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,135.15
s9518      JOHNSON CONTROLS                                               Check all that apply.
           8930 BASH STREET, SUITE L                                         Contingent
           INDIANAPOLIS, IN 46256                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 119     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $40.88
s9519      JOHNSON COUNTY WASTEWATER                                      Check all that apply.
           1811 S SUNSET DR #2500                                            Contingent
           OLATHE, KS 66061                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 120     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $124,715.43
s9520      JONES DAY                                                      Check all that apply.
           901 LAKESIDE AVENUE                                               Contingent
           CLEVELAND, OH 44114                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 37 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 69 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 121     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $13,354.02
s9521      JOSTENS                                                        Check all that apply.
           21336 NEWWORK PLACE                                               Contingent
           CHICAGO, IL 60673-1213                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 122     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $10,000.00
s9522      KANOPY                                                         Check all that apply.
           781 BEACH STREET                                                  Contingent
           SUITE 410                                                         Unliquidated
           SAN FRANCISCO, CA 94109                                           Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 123     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $7,302.56
s9278      KANSAS GAS SERVICE                                             Check all that apply.
           PO BOX 219046                                                     Contingent
           KANSAS CITY, MO 64121-9046                                        Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 124     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $515.72
s9524      KEITH WEINER & ASSOC                                           Check all that apply.
           OHIO ATTORNEY GENERAL                                             Contingent
           75 PUBLIC SQUARE, 4TH FLOOR                                       Unliquidated
           CLEVELAND, OH 44113                                               Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 38 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 70 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 125     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $4,494.00
s9279      KYRIBA CORP                                                    Check all that apply.
           FILE 1735                                                         Contingent
           AR DEPT                                                           Unliquidated
           1801 W OLYMPIC BLVD                                               Disputed
           PASADENA, CA 91199

           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 126     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $72.80
s9527      LA DWP                                                         Check all that apply.
           PO BOX 30808                                                      Contingent
           LOS ANGELES, CA 90030                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 127     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $80,712.92
s9528      LA OFFICE OF FINANCE                                           Check all that apply.
           200 N SPRING STREET                                               Contingent
           LOS ANGELES, CA 90012                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 128     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,764.00
s9531      LERNER CORP                                                    Check all that apply.
           2000 TOWER OAKS BOULEVARD                                         Contingent
           8TH FLOOR                                                         Unliquidated
           ROCKVILLE, MD 20852                                               Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 39 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 71 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 129     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $24,006.62
s9532      LG&E                                                           Check all that apply.
           PO BOX 9001960                                                    Contingent
           LOUISVILLE, KY 40290                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 130     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $25,053.76
s9280      LIBERTY MUTUAL                                                 Check all that apply.
           701 XENIA AVE SO #400                                             Contingent
           ATTN MAUREEN BROWNSON                                             Unliquidated
           #C413-822190                                                      Disputed
           MINNEAPOLIS, MN 55416

           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 131     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $10,153.29
s9281      LOUISVILLE GAS & ELECTRIC CO                                   Check all that apply.
           PO BOX 538612                                                     Contingent
           ATLANTA, GA 30353-8612                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 132     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $442.00
s9533      MAINTENANCE MANAGEMENT                                         Check all that apply.
           5425 INDUSTRIAL ROAD                                              Contingent
           FORT WAYNE, IN 46825                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 40 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 72 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 133     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $50.24
s9536      MARK ANDY PRINT PRODUCTS                                       Check all that apply.
           7561 SOLUTIONS CENTER                                             Contingent
           CHICAGO, IL 60677                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 134     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $38.70
s9282      MARKETING SUPPORT NETWORK                                      Check all that apply.
           200 OLD POND ROAD, SUITE 101                                      Contingent
           BRIDGEVILLE, PA 15017                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 135     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $22,640.00
s9537      MCGRAW HILL EDUCATION                                          Check all that apply.
           860 TAYLOR STATION ROAD                                           Contingent
           BLACKLICK, OH 43004                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 136     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,663.00
s9283      MCGRAW-HILL EDUCATION INC                                      Check all that apply.
           2 PENN PLAZA                                                      Contingent
           NEW YORK, NY 10121                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 41 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 73 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 137     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $4.16
s9538      MCKESSON MEDICAL                                               Check all that apply.
           9954 MARYLAND DRIVE                                               Contingent
           SUITE 4000                                                        Unliquidated
           RICHMOND, VA 23233                                                Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 138     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $198.00
s9539      MERCHANTS BUILDING MAINTANCE                                   Check all that apply.
           1190 MONTEREY PASS ROAD                                           Contingent
           MONTEREY PARK, CA 91754                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 139     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $10,510.97
s9540      METROPOLITAN TRUSTEE                                           Check all that apply.
           PO BOX 30512                                                      Contingent
           NASHVILLE, TN 37230                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 140     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $693.91
s9541      MICHIGAN CITY WATER                                            Check all that apply.
           PO BOX 888                                                        Contingent
           MICHIGAN CITY, IN 46361                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 42 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 74 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 141     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $3,983.00
s9542      MID AMERICAN                                                   Check all that apply.
           BUCKEYE ROAD                                                      Contingent
           LIMA, OH 45804                                                    Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 142     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,709.43
s9284      MIKE SULLIVAN COUNTY TAX ASSESSOR-COLLECTOR                    Check all that apply.
           PO BOX 4622                                                       Contingent
           HOUSTON, TX 77210-4622                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 143     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $840.20
s9543      MINNESOTA ELEVATOR                                             Check all that apply.
           PO BOX 0129                                                       Contingent
           ST. CLAIR, MN 56080                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 144     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $15,866.00
s9544      MINNESOTA OFFICE HIGHER EDUCATION                              Check all that apply.
           PO BOX 64449                                                      Contingent
           SAINT PAUL, MN 55164                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 43 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 75 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 145     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $243.53
s9545      MINNESOTA POLLUTION CONTROL                                    Check all that apply.
           PO BOX 64893                                                      Contingent
           ST. PAUL, MN 55164                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 146     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,133.39
s9546      MOOD MEDIA                                                     Check all that apply.
           PO BOX 71070                                                      Contingent
           CHARLOTTE, NC 28272                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 147     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $17,347.05
s9547      MORGAN LEWIS                                                   Check all that apply.
           1701 MARKET STREET                                                Contingent
           PHILADELPHIA, PA 19103                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 148     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $6,877.52
s9548      NANCY M BEARCE                                                 Check all that apply.
           ONE CIVIC PLAZA NW, BASEMENT                                      Contingent
           ALBUQUERQUE, NM 87102                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 44 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 76 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 149     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $650.00
s9285      NCS PEARSON INCORPORATED                                       Check all that apply.
           13036 COLLECTION CENTER DR                                        Contingent
           CHICAGO, IL 60693                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 150     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $3,404.13
s9549      NEBRASKA BOOK COMPANY                                          Check all that apply.
           NW 5801                                                           Contingent
           PO BOX 5801                                                       Unliquidated
           MINNEAPOLIS, MN 55485                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 151     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $175.67
s9550      NEW YORK INS FUND                                              Check all that apply.
           PO BOX 5239                                                       Contingent
           NEW YORK, NY 10008                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 152     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $160.29
s9551      NEWMARK GRUBB KNIGHT FRANK                                     Check all that apply.
           K&L GATES CENTER                                                  Contingent
           210 SIXTH AVE. SUITE 330                                          Unliquidated
           PITTSBURGH, PA 15222                                              Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 45 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 77 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 153     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $12,143.91
s9552      NIPSCO                                                         Check all that apply.
           PO BOX 13007                                                      Contingent
           MERRILLVILLE, IN 46411                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 154     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $280.06
s9553      OKLAHOMA NATURAL GAS                                           Check all that apply.
           401 N HARVEY,                                                     Contingent
           PO BOX 401                                                        Unliquidated
           OKLAHOMA, OK 73101                                                Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 155     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $67,541.77
s9286      ONE OLIVER ASSOCIATES LP                                       Check all that apply.
           DEPT # 77318                                                      Contingent
           PO BOX 77000                                                      Unliquidated
           DETROIT, MI 48277-0318                                            Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 156     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $2,500.00
s9287      ONESITE INC                                                    Check all that apply.
           CECILIA SMITH                                                     Contingent
           14000 QUAIL SPRINGS PARKWAY                                       Unliquidated
           STE 230                                                           Disputed
           OKLAHOMA CITY, OK 73134

           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 46 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 78 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 157     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $21.30
s9554      PATTERSON VETERINARY                                           Check all that apply.
           PO BOX 1240                                                       Contingent
           GREENLEY, CO 80632                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 158     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $580.00
s9555      PEARSON                                                        Check all that apply.
           13036 COLLECTION CENTER DRIVE                                     Contingent
           CHICAGO, IL 60693                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 159     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $131.30
s9556      PESCO ENERGY                                                   Check all that apply.
           PO BOX 865557                                                     Contingent
           ORLANDO, FL 32886                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 160     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,930.50
s9557      PETER R MEYERS                                                 Check all that apply.
           360 EAST RANDOLPH STREET                                          Contingent
           SUITE 3104                                                        Unliquidated
           CHICAGO, IL 60601                                                 Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 47 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 79 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 161     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $129.00
s9558      PHARMACY TECHNICAN CERT BOARD                                  Check all that apply.
           2215 CONSTITUTION AVE. NW                                         Contingent
           SUITE 101                                                         Unliquidated
           WASHINGTON, DC 20037                                              Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 162     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,344.02
s9559      PITNEY BOWES                                                   Check all that apply.
           PO BOX 371887                                                     Contingent
           PITTSBURGH, PA 15250                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 163     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $283.40
s9560      PITT SPECIALTY SUPPLY                                          Check all that apply.
           PO BOX 42                                                         Contingent
           405 ALLEGHENY ST                                                  Unliquidated
           TERENTUM, PA 15084                                                Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 164     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $83,247.44
s9289      PORTER WRIGHT MORRIS & ARTHUR                                  Check all that apply.
           RICH HELMREICH                                                    Contingent
           41 SOUTH HIGH STREET                                              Unliquidated
           STE 2800-3200                                                     Disputed
           COLUMBUS, OH 43215-6194

           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 48 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 80 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 165     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,450.00
s9291      PROQUEST LLC                                                   Check all that apply.
           CODY DUNBAR                                                       Contingent
           789 E EISENHOWER PARKWAY                                          Unliquidated
           PO BOX 1346                                                       Disputed
           ANN ARBOR, MI 48106-1346

           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 166     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $250.00
s9562      R R BOWKER                                                     Check all that apply.
           16848 COLLECTIONS CENTER DR                                       Contingent
           CHICAGO, IL 60693                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 167     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $25.00
s9563      RADIATION DETECTION                                            Check all that apply.
           3527 SNEAD DRIVE                                                  Contingent
           GEORGETOWN, TX 78626                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 168     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $20.00
s9564      READY REFRESH                                                  Check all that apply.
           PO BOX 856158                                                     Contingent
           LOUISVILLE, KY 40285                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 49 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 81 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 169     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $734.50
s9565      RED BULL DISTRIBUTION CO                                       Check all that apply.
           PO BOX 204750                                                     Contingent
           DALLAS, TX 75320                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 170     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $102,561.26
s9566      REED SMITH LLP                                                 Check all that apply.
           PO BOX 360074M                                                    Contingent
           PITTSBURGH, PA 15251-6074                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 171     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,186.83
s9293      REPUBLIC SERVICES OF INDIANA                                   Check all that apply.
           PO BOX 9001099                                                    Contingent
           LOUISVILLE, KY 40290-1099                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 172     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $11,509.80
s9568      RICOH                                                          Check all that apply.
           GREAT LAKES DISTRICT                                              Contingent
           PO BOX 802815                                                     Unliquidated
           CHICAGO, IL 60680                                                 Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 50 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 82 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 173     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $600.42
s9569      RUMPKE                                                         Check all that apply.
           3700 STRUBLE RD                                                   Contingent
           CINCINNATI, OH 45215                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 174     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $633.01
s9570      SAINT CHARLES COUNTY                                           Check all that apply.
           201 NORTH SECOND ST., SUITE 134                                   Contingent
           SAINT CHARLES, MO 63301                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 175     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $3,056.72
s9571      SALINE COUNTY TREASURER                                        Check all that apply.
           PO BOX 5040, SUITE 214                                            Contingent
           SALINA, KS 67402                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 176     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $6,518.00
s9572      SCHNADER HARRISON SEGAL & LEWIS LLP                            Check all that apply.
           FIFTH AVE PLACE-SUITE 2700                                        Contingent
           120 FIFTH AVENUE                                                  Unliquidated
           PITTSBURGH, PA 15222                                              Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 51 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 83 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 177     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $330.33
s9573      SHEEHAN - SHEEHAN P A                                          Check all that apply.
           PO BOX 271                                                        Contingent
           ALBUQUERQUE, NM 87103                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 178     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $13,338.18
s9574      SHOOK HARDY & BACON                                            Check all that apply.
           1155 F STREET, N W                                                Contingent
           SUITE 200                                                         Unliquidated
           WASHINGTON, 20004-1305                                            Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 179     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $644.84
s9575      SHRED-IT                                                       Check all that apply.
           28883 NETWORK PLACE                                               Contingent
           CHICAGO, IL 60673                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 180     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $61.32
s9576      SIEVERS SECURITY                                               Check all that apply.
           18210 SAINT CLAIR DRIVE                                           Contingent
           CLEVELAND, OH 44110                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 52 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 84 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 181     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $2,904.34
s9577      SMART CARE                                                     Check all that apply.
           PO BOX 74008980                                                   Contingent
           CHICAGO, IL 60674                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 182     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $437.40
s9578      SMITHEREEN PEST MANAGEMENT                                     Check all that apply.
           7400 N MELVINA AVE                                                Contingent
           NILES, IL 60714                                                   Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 183     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $3,582.31
s9579      SOUTH BEND WATER WORKS                                         Check all that apply.
           PO BOX 7125                                                       Contingent
           SOUTH BEND, IN 46634                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 184     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $450.00
s9580      SPEYER ROOFING DBA LEAK SOLUTIONS                              Check all that apply.
           100 W OXMOOR RD                                                   Contingent
           BIRMINGHAM, AL 35209                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 53 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 85 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 185     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,784.42
s9583      STANLEY SECURITY SOLUTIONS                                     Check all that apply.
           2000 CABOT BLVD WEST                                              Contingent
           SUITE 100                                                         Unliquidated
           LANGHORNE, PA 19047                                               Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 186     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $794.38
s9584      STAPLES                                                        Check all that apply.
           PO BOX 95230                                                      Contingent
           CHICAGO, IL 60694                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 187     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $4,235.48
s9585      STERICYCLE, INC                                                Check all that apply.
           4010 COMMERCIAL AVE                                               Contingent
           PO BOX 6582                                                       Unliquidated
           CAROL STREAM, IL 60197                                            Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 188     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $4,205.20
s9586      SUDDATH RELOCATION SYSTEMS                                     Check all that apply.
           815 SOUTH MAIN ST                                                 Contingent
           SUITE 411C                                                        Unliquidated
           JACKSONVILLE, FL 32207                                            Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 54 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 86 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 189     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $163.00
s9588      TERMINIX                                                       Check all that apply.
           PO BOX 742592                                                     Contingent
           CINCINNATI, OH 45274                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 190     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $68,584.01
s9589      THOMAS REUTERS                                                 Check all that apply.
           PO BOX 6292                                                       Contingent
           CAROL STREAM, IL 60197                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 191     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $3,960.16
s9298      THOMSON REUTERS LLC                                            Check all that apply.
           PO BOX 95767                                                      Contingent
           CHICAGO, IL 60694-5767                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 192     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $209.67
s9590      THYSSENKRUPP ELEVATOR CORP                                     Check all that apply.
           2801 NETWORK BLVD                                                 Contingent
           SUITE 700 AP DEPT.                                                Unliquidated
           FRISCO, TX 75034                                                  Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 55 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 87 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 193     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $60,907.00
s9591      TRAVELERS                                                      Check all that apply.
           C/O BANK OF AMERICA                                               Contingent
           91287 COLLECTIONS CENTER DRIVE                                    Unliquidated
           CHICAGO, IL 60693-1287                                            Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 194     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $652.80
s9592      TUCSON ELECTRIC POWER                                          Check all that apply.
           PO BOX 9035                                                       Contingent
           ADDISON, TX 75001                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 195     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,286.62
s9593      TUITION OPTIONS LLC                                            Check all that apply.
           14000 HORIZON WAY, SUITE 400                                      Contingent
           MT LAUREL, NJ 08054                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 196     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $18,413.18
s9299      TYCO INTEGRATED SECURITY LLC                                   Check all that apply.
           PO BOX 371967                                                     Contingent
           PITTSBURGH, PA 15250-7967                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 56 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 88 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 197     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $12,198.35
s9596      UNISA                                                          Check all that apply.
           7400 EAST ARAPAHOE RD                                             Contingent
           SUITE 10                                                          Unliquidated
           ENGLEWOOD, CO 80112                                               Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 198     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,075.20
s9597      UNITED CONCORDIA                                               Check all that apply.
           PO BOX 827399                                                     Contingent
           PHILADELPHIA, PA 19182                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 199     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,177.03
s9598      UNITED RENTALS                                                 Check all that apply.
           PO BOX 100711                                                     Contingent
           ATLANTA, GA 30384                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 200     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $415.40
s9599      VALENTI HANLEY                                                 Check all that apply.
           ONE RIVERFRONT PLAZA, SUITE 1950                                  Contingent
           401 WEST MAIN STREET                                              Unliquidated
           LOUISVILLE, KY 40202                                              Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 57 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 89 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 201     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $5,155.45
s9600      VICKY MCINTYRE TAX COLLECTOR                                   Check all that apply.
           200 W FRONT STREET                                                Contingent
           BOISE, ID 83701                                                   Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 202     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,271.60
s9300      VILLAGE OF TINLEY PARK                                         Check all that apply.
           16250 S OAK PARK AVE                                              Contingent
           TINLEY PARK, IL 60477                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 203     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $6,172.04
s9301      VITALSOURCE INC                                                Check all that apply.
           1 INGRAM BLVD                                                     Contingent
           LA VERGNE, TN 37086                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 204     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $11,955.60
s9603      WAGE WORKS                                                     Check all that apply.
           PO BOX 45772                                                      Contingent
           SAN FRANCISCO, CA 94142                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 58 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                      Doc 9      Filed 07/03/18              Page 90 of18-11494
                                                                                                                 107
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 205     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                               $75.98
s9604      WASTE MANAGEMENT                                               Check all that apply.
           PO BOX 78251                                                      Contingent
           PHOENIX, AZ 85062                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 206     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $15,283.66
s9302      WESTAR ENERGY                                                  Check all that apply.
           PO BOX 758500                                                     Contingent
           TOPEKA, KS 66675-8500                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 207     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $429.59
s9607      XFINITY                                                        Check all that apply.
           PO BOX 3001                                                       Contingent
           SOUTHEASTERN, PA 19398                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 208     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $2,560.44
s9304      ZOOM VIDEO COMMUNICATIONS                                      Check all that apply.
           RICHARD GATCHALIAN                                                Contingent
           55 ALMADEN BLVD                                                   Unliquidated
           SAN JOSE, CA 95113                                                Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 59 of 61
  Education ManagementCase
                      II, LLC18-11494-LSS                                  Doc 9          Filed 07/03/18              Page 91 of18-11494
                                                                                                                                 107
  Debtor Name                                                                                                                    Case Number (if known)


Part 3:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified forclaims already listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy this page.

    Name and address                                                                                     On which line in Part 1 or Part 2 did           Last 4 digits of account
                                                                                                         you enter the related creditor?                 number for this entity
     EVOQUA WATER TECHNOLOGIES, LLC                                                                      s9331
     STEVEN W. ZOFFER
     DICKIE, MCCAMEY & CHILCOTE, P.C.
     TWO PPG PLACE, SUITE 400
     PITTSBURGH, PA 15222

     HANOVER PARTNERSHIP INVESTMENT XII LCC                                                              s9672
     BRITNEY M WEIL,
     700 NORTH ST. MARY`S STREET, STE 1800
     SAN ANTONIO, TX 78205

     HANOVER PARTNERSHIP INVESTMENT XII LLC                                                              s9672
     ADRIENNE FARRELL
     C/O TRANSWESTERN
     8200 IH-10 WEST, SUITE 315
     SAN ANTONIO, TX 78230

     HANOVER PARTNERSHIP INVESTMENT                                                                      s9672
     C/O TRANSWESTERN
     8200 IH-10 WEST SUITE 810
     SAN ANTONIO, TX 78230

     HANOVER PARTNERSHIP INVESTMENT                                                                      s9672
     XII LLC
     C/O TRANSWESTERN
     4801 NW LOOP 410 STE 100
     SAN ANTONIO, TX 78229

     L REIT LTD                                                                                          s9691
     MARLENE PETERSON
     7904 N SAM HOUSTON PKWY W
     4TH FL
     HOUSTON, TX 77064

     LCP LIBERTY SQUARE, LLC                                                                             s9412
     BERNIE W ELLIS
     PO BOX 44 7
     GREENVILLE, SC 29602

     ONE OLIVER ASSOCIATES LIMITED PARTNERSHIP                                                           s9178
     EDWARD F VOELKER, JR
     VOELKER & ASSOCIATES, PC
     HAMPTON STONEWORKS PROF
     3960 ROUTE 8 SUITE 200
     ALLISON PARK, PA 15101-3603

     SCHNADER HARRISON SEGAL & LEWIS LLP                                                                 s9572
     CYD PENNINGTON
     1600 MARKET STREET
     SUITE 3600
     PHILADELPHIA, PA 19103




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                              page 60 of 61
 Education ManagementCase
                     II, LLC18-11494-LSS                 Doc 9      Filed 07/03/18         Page 92 of18-11494
                                                                                                      107
 Debtor Name                                                                                     Case Number (if known)


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                     Total of Claim Amounts



5a. Total Claims from Part 1                                                         5a.                      $487,715.51
                                                                                                 ____________________________




                                                                                                            $13,091,037.35
5b. Total Claims from Part 2                                                         5b.     +   ____________________________
                                                                                                          PLUS UNKNOWN




5c. Total of Parts 1 and 2                                                           5c.                    $13,578,752.86
                                                                                                 ____________________________
    Lines 5a + 5b = 5c.                                                                                   PLUS UNKNOWN




Official Form 206E/F             Schedule E/F: Creditors Who Have Unsecured Claims                                   page 61 of 61
                                 Case 18-11494-LSS               Doc 9       Filed 07/03/18              Page 93 of 107
  Fill in this information to identify the case:
  Debtor name Education Management II, LLC

  United States Bankruptcy Court for the:                                     District of   Delaware
                                                                                            (State of)
  Case Number (if known):       18-11494                                        Chapter     7                                    Check if this is an
                                                                                                                                 amended filing

Official Form 206G
SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                                                                              12/15

  Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.
  1. Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the court with the debtor’s other schedules.
       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
       (Official Form 206A/B).

2. List all contracts and unexpired leases                                                          State the name and mailing address for all
                                                                                                    other parties with whom the debtor has an
                                                                                                    executory contract or unexpired lease
           State what the contract or      LEASE                                                    CAZ 4 LLC
2. 1       lease is for and the nature     TENURE ID: 1503-B-L001; PROPERTY: SHARED                 JENNIFER SHUMAKER
           of the debtor’s interest        SERVICES - CHANDLER, 2200 EAST GERMANN                   DOUGLAS ALLRED COMPANY
                                           ROAD, CHANDLER, AZ 85249                                 11452 EL CAMINO REAL, SUITE 200
                                                                                                    SAN DIEGO, CA 92130
           State the term remaining        EXPIRES: 3/31/2021
          List the contract number of
          any government contract


           State what the contract or      TRANSITION SERVICES AGREEMENT                            DREAM CENTER EDUCATION HOLDINGS, LLC,
2. 2       lease is for and the nature                                                              DREAM CENTER EDUCATION MANAGEMENT LLC
           of the debtor’s interest                                                                 AND THE DREAM CENTER FOUNDATION
                                                                                                    C/O RANDY BARTON, ESQ.
           State the term remaining                                                                 DREAM CENTER EDUCATION HOLDINGS, LLC
                                                                                                    1400 PENN AVENUE
          List the contract number of
                                                                                                    PITTSBURGH, PA 15222
          any government contract
                                                                                                    ADDITIONAL NOTICE PARTY:
                                                                                                    DREAM CENTER EDUCATION HOLDINGS, LLC
                                                                                                    ATTN: LAW DEPARTMENT
                                                                                                    1400 PENN AVENUE
                                                                                                    PITTSBURGH, PA 15222


           State what the contract or      SUBLEASE                                                 EVOQUA WATER TECHNOLOGIES LLC
2. 3       lease is for and the nature     TENURE ID: 1002-A-L001SL001; PROPERTY:                   NICOLE GRAY
           of the debtor’s interest        EDMC - CORPORATE (HEADQUARTERS), 210                     GC AND GLOBAL CORPORATE REAL ESTATE
                                           6TH AVENUE, PITTSBURGH, PA 15222                         MANAGER
                                                                                                    210 SIXTH AVENUE, SUITE 3300
           State the term remaining        EXPIRES: 6/30/2020                                       PITTSBURGH, PA 15222
          List the contract number of
          any government contract


           State what the contract or      LEASE                                                    ONE OLIVER ASSOCIATES LIMITED PARTNERSHIP
2. 4       lease is for and the nature     TENURE ID: 1002-A-L001; PROPERTY: EDMC -                 JOHN E CAPOZZI
           of the debtor’s interest        CORPORATE (HEADQUARTERS), 210 6TH                        39400 WOODWARD
                                           AVENUE, PITTSBURGH, PA 15222                             SUITE 250
                                                                                                    BLOOMFIELD HILLS, MI 48304
           State the term remaining        EXPIRES: 6/30/2020
          List the contract number of
          any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 2
                              Case 18-11494-LSS            Doc 9   Filed 07/03/18         Page 94 of 107
  Debtor Education Management II, LLC                                          Case Number (if known):   18-11494
         Nam

      Additional Page if Debtor Has More Executory Contracts or Unexpired Lease
 List all contracts and unexpired leases                                State the name and mailing address for all
                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
        State what the contract or    SUBLEASE                                      SYSTEM ONE HOLDINGS, LLC
2. 5    lease is for and the nature   TENURE ID: 1002-A-L001SL002; PROPERTY:        DAVID J MORAN, CFO
        of the debtor’s interest      EDMC - CORPORATE (HEADQUARTERS), 210          210 SIXTH AVENUE
                                      6TH AVENUE, PITTSBURGH, PA 15222              SUITE 3100
                                                                                    PITTSBURGH, PA 15222
        State the term remaining      EXPIRES: 6/30/2020
        List the contract number of
        any government contract


        State what the contract or    LEASE                                         WPT LAND 2LP
2. 6    lease is for and the nature   TENURE ID: 1502-A; PROPERTY: SHARED           4416 EAST COTTON
        of the debtor’s interest      SERVICES - PHOENIX, 4217 EAST COTTON          CENTER BOULEVARD
                                      CENTER BOULEVARD, PHOENIX, AZ 85040           PHOENIX, AZ 85040

        State the term remaining      EXPIRES: 6/30/2019
        List the contract number of
        any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                        Page 2 of 2
                                 Case 18-11494-LSS                Doc 9        Filed 07/03/18            Page 95 of 107
 Fill in this information to identify your case:
 Debtor 1       Education Management II, LLC

 United States Bankruptcy Court for the:                                      District of   Delaware
                                                                                            (State of)
 Case Number (if known):       18-11494                                         Chapter     7                                          Check if this is an
                                                                                                                                       amended filing

 Official Form 206H
 SCHEDULE H - CODEBTORS                                                                                                                              12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
 consecutively. Attach the Additional Page to this page.


  1. Do you have any codebtors?
        No Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in
     the schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the
     creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a
     debt to more than one creditor, list each creditor separately in Column 2.
         Column 1: Codebtor                                                     Column 2: Creditor                                  Check all schedules
                                                                                                                                    that apply:
         Name and Mailing Address                                               Name
         AICA-IE RESTAURANT, INC.                                               US BANK NATIONAL ASSOCIATION, AS                      D (s2192)
2.1      210 SIXTH AVENUE, 3RD FLOOR                                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                                     E/F

                                                                                                                                       G


         AID RESTAURANT, INC.                                                   US BANK NATIONAL ASSOCIATION, AS                      D (s2192)
2.2      210 SIXTH AVENUE, 3RD FLOOR                                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                                     E/F

                                                                                                                                       G


         AIH RESTAURANT, INC.                                                   US BANK NATIONAL ASSOCIATION, AS                      D (s2192)
2.3      210 SIXTH AVENUE, 3RD FLOOR                                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                                     E/F

                                                                                                                                       G


         AIIM RESTAURANT, INC.                                                  US BANK NATIONAL ASSOCIATION, AS                      D (s2192)
2.4      210 SIXTH AVENUE, 3RD FLOOR                                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                                     E/F

                                                                                                                                       G


         AIIN RESTAURANT LLC                                                    US BANK NATIONAL ASSOCIATION, AS                      D (s2192)
2.5      210 SIXTH AVENUE, 3RD FLOOR                                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                                     E/F

                                                                                                                                       G


         AIT RESTAURANT, INC.                                                   US BANK NATIONAL ASSOCIATION, AS                      D (s2192)
2.6      210 SIXTH AVENUE, 3RD FLOOR                                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                                     E/F

                                                                                                                                       G




Official Form 206H                                           Schedule H: Codebtors                                                    Page 1 of 12
                           Case 18-11494-LSS           Doc 9    Filed 07/03/18        Page 96 of 107
 Debtor Education Management II, LLC                                       Case Number (if known):   18-11494
         Name

       Additional Page to List More Codebtors
         Column 1: Codebtor                                      Column 2: Creditor                             Check all schedules
                                                                                                                that apply:
         Name and Mailing Address                                Name
         AITN RESTAURANT, INC.                                   US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.7      210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         AMERICAN EDUCATION CENTERS, INC.                        US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.8      210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         ARGOSY EDUCATION GROUP, INC.                            US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.9      210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         ARGOSY UNIVERSITY OF CALIFORNIA LLC                     US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.10     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         BMC REAL PROPERTY HOLDINGS LLC                          US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.11     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         BROWN MACKIE COLLEGE - ALBUQUERQUE LLC                  US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.12     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         BROWN MACKIE COLLEGE - BIRMINGHAM LLC                   US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.13     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         BROWN MACKIE COLLEGE - BOISE, INC.                      US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.14     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         BROWN MACKIE COLLEGE - DALLAS/FT. WORTH LLC             US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.15     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         BROWN MACKIE COLLEGE - GREENVILLE, INC.                 US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.16     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G




Official Form 206H                                 Schedule H: Codebtors                                         Page 2 of 12
                           Case 18-11494-LSS          Doc 9    Filed 07/03/18        Page 97 of 107
 Debtor Education Management II, LLC                                      Case Number (if known):   18-11494
         Name

       Additional Page to List More Codebtors
         Column 1: Codebtor                                     Column 2: Creditor                             Check all schedules
                                                                                                               that apply:
         Name and Mailing Address                               Name
         BROWN MACKIE COLLEGE - INDIANAPOLIS, INC.              US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.17     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

                                                                                                                 G


         BROWN MACKIE COLLEGE - KANSAS CITY LLC                 US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.18     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

                                                                                                                 G


         BROWN MACKIE COLLEGE - MIAMI NORTH LLC                 US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.19     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

                                                                                                                 G


         BROWN MACKIE COLLEGE - MIAMI, INC.                     US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.20     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

                                                                                                                 G


         BROWN MACKIE COLLEGE - OKLAHOMA CITY LLC               US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.21     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         BROWN MACKIE COLLEGE - PHOENIX, INC.                   US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.22     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         BROWN MACKIE COLLEGE - SALINA LLC                      US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.23     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         BROWN MACKIE COLLEGE - SAN ANTONIO LLC                 US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.24     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         BROWN MACKIE COLLEGE - ST. LOUIS, INC.                 US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.25     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         BROWN MACKIE COLLEGE - TUCSON, INC.                    US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.26     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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Official Form 206H                                Schedule H: Codebtors                                         Page 3 of 12
                           Case 18-11494-LSS         Doc 9   Filed 07/03/18        Page 98 of 107
 Debtor Education Management II, LLC                                    Case Number (if known):   18-11494
         Name

       Additional Page to List More Codebtors
         Column 1: Codebtor                                   Column 2: Creditor                             Check all schedules
                                                                                                             that apply:
         Name and Mailing Address                             Name
         BROWN MACKIE COLLEGE - TULSA, INC.                   US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.27     210 SIXTH AVENUE, 3RD FLOOR                          ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                             E/F

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         BROWN MACKIE EDUCATION CORPORATION                   US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.28     210 SIXTH AVENUE, 3RD FLOOR                          ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                             E/F

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         BROWN MACKIE EDUCATION II LLC                        US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.29     210 SIXTH AVENUE, 3RD FLOOR                          ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                             E/F

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         EDMC EDU-PAC, THE EDUCATION MANAGEMENT               US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.30     CORPORATION                                          ADMINISTRATIVE AND COLLATERAL AGENT
         EMPLOYEE POLITICAL ACTION COMMITTEE, INC.                                                             E/F
         210 SIXTH AVENUE, 3RD FLOOR
         PITTSBURGH, PA 15222-2603                                                                             G


         EDMC MARKETING AND ADVERTISING, INC.                 US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.31     210 SIXTH AVENUE, 3RD FLOOR                          ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                             E/F

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         EDUCATION FINANCE II LLC                             US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.32     210 SIXTH AVENUE, 3RD FLOOR                          ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                             E/F

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         EDUCATION FINANCE III LLC                            US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.33     210 SIXTH AVENUE, 3RD FLOOR                          ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                             E/F

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         EDUCATION MANAGEMENT CORPORATION                     CAZ 4 LLC                                        D
2.34     210 SIXTH AVENUE, 3RD FLOOR
         PITTSBURGH, PA 15222-2603                                                                             E/F    (s9180)

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         EDUCATION MANAGEMENT CORPORATION                     US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.35     210 SIXTH AVENUE, 3RD FLOOR                          ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                             E/F

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         EDUCATION MANAGEMENT ESCROW LLC                      US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.36     210 SIXTH AVENUE, 3RD FLOOR                          ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                             E/F

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Official Form 206H                              Schedule H: Codebtors                                         Page 4 of 12
                           Case 18-11494-LSS          Doc 9     Filed 07/03/18      Page 99 of 107
 Debtor Education Management II, LLC                                     Case Number (if known):   18-11494
         Name

       Additional Page to List More Codebtors
         Column 1: Codebtor                                     Column 2: Creditor                            Check all schedules
                                                                                                              that apply:
         Name and Mailing Address                               Name
         EDUCATION MANAGEMENT FINANCE CORPORATION               US BANK NATIONAL ASSOCIATION, AS                D (s2192)
2.37     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         EDUCATION MANAGEMENT HOLDINGS II LLC                   US BANK NATIONAL ASSOCIATION, AS                D (s2192)
2.38     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         EDUCATION MANAGEMENT HOLDINGS LLC                      US BANK NATIONAL ASSOCIATION, AS                D (s2192)
2.39     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         EDUCATION MANAGEMENT LLC                               US BANK NATIONAL ASSOCIATION, AS                D (s2192)
2.40     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         HIGHER EDUCATION SERVICES II LLC                       US BANK NATIONAL ASSOCIATION, AS                D (s2192)
2.41     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         HIGHER EDUCATION SERVICES, INC.                        US BANK NATIONAL ASSOCIATION, AS                D (s2192)
2.42     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         MIAMI INTERNATIONAL UNIVERSITY OF ART & DESIGN, INC.   US BANK NATIONAL ASSOCIATION, AS                D (s2192)
2.43     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         MICHIANA COLLEGE EDUCATION CORPORATION                 US BANK NATIONAL ASSOCIATION, AS                D (s2192)
2.44     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         SOUTH EDUCATION - TEXAS LLC                            US BANK NATIONAL ASSOCIATION, AS                D (s2192)
2.45     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         SOUTH UNIVERSITY OF ALABAMA, INC.                      US BANK NATIONAL ASSOCIATION, AS                D (s2192)
2.46     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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Official Form 206H                               Schedule H: Codebtors                                         Page 5 of 12
                           Case 18-11494-LSS         Doc 9     Filed 07/03/18        Page 100 of 107
 Debtor Education Management II, LLC                                      Case Number (if known):   18-11494
         Name

       Additional Page to List More Codebtors
         Column 1: Codebtor                                     Column 2: Creditor                             Check all schedules
                                                                                                               that apply:
         Name and Mailing Address                               Name
         SOUTH UNIVERSITY OF ARKANSAS LLC                       US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.47     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY OF CAROLINA, INC.                     US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.48     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY OF FLORIDA, INC.                      US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.49     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY OF MICHIGAN, LLC                      US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.50     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY OF NORTH CAROLINA LLC                 US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.51     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY OF OHIO LLC                           US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.52     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY OF TENNESSEE, INC.                    US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.53     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY OF VIRGINIA, INC.                     US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.54     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY RESEARCH CORPORATION                  US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.55     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY RESEARCH II LLC                       US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.56     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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Official Form 206H                                Schedule H: Codebtors                                         Page 6 of 12
                           Case 18-11494-LSS           Doc 9      Filed 07/03/18      Page 101 of 107
 Debtor Education Management II, LLC                                       Case Number (if known):   18-11494
         Name

       Additional Page to List More Codebtors
         Column 1: Codebtor                                        Column 2: Creditor                           Check all schedules
                                                                                                                that apply:
         Name and Mailing Address                                  Name
         SOUTH UNIVERSITY, LLC                                     US BANK NATIONAL ASSOCIATION, AS               D (s2192)
2.57     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         SOUTHERN OHIO COLLEGE LLC                                 US BANK NATIONAL ASSOCIATION, AS               D (s2192)
2.58     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         STAUTZENBERGER COLLEGE EDUCATION CORPORATION              US BANK NATIONAL ASSOCIATION, AS               D (s2192)
2.59     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         TAIC-SAN DIEGO, INC.                                      US BANK NATIONAL ASSOCIATION, AS               D (s2192)
2.60     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         TAIC-SAN FRANCISCO, INC.                                  US BANK NATIONAL ASSOCIATION, AS               D (s2192)
2.61     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF ATLANTA, LLC                         US BANK NATIONAL ASSOCIATION, AS               D (s2192)
2.62     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF AUSTIN, INC.                         US BANK NATIONAL ASSOCIATION, AS               D (s2192)
2.63     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF CALIFORNIA - LOS ANGELES, INC.       US BANK NATIONAL ASSOCIATION, AS               D (s2192)
2.64     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF CALIFORNIA - SILICON VALLEY, INC.    US BANK NATIONAL ASSOCIATION, AS               D (s2192)
2.65     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF CALIFORNIA-HOLLYWOOD, INC.           US BANK NATIONAL ASSOCIATION, AS               D (s2192)
2.66     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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Official Form 206H                                 Schedule H: Codebtors                                         Page 7 of 12
                           Case 18-11494-LSS          Doc 9    Filed 07/03/18        Page 102 of 107
 Debtor Education Management II, LLC                                      Case Number (if known):   18-11494
         Name

       Additional Page to List More Codebtors
         Column 1: Codebtor                                     Column 2: Creditor                             Check all schedules
                                                                                                               that apply:
         Name and Mailing Address                               Name
         THE ART INSTITUTE OF CALIFORNIA-INLAND EMPIRE, INC.    US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.67     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF CALIFORNIA-ORANGE COUNTY, INC.    US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.68     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF CALIFORNIA-SACRAMENTO, INC.       US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.69     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF CHARLESTON, INC.                  US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.70     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF CHARLOTTE, LLC                    US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.71     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF COLORADO, INC.                    US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.72     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF DALLAS, INC.                      US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.73     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF FORT LAUDERDALE, INC.             US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.74     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF FORT WORTH, INC.                  US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.75     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF HOUSTON, INC.                     US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.76     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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Official Form 206H                                Schedule H: Codebtors                                         Page 8 of 12
                           Case 18-11494-LSS            Doc 9    Filed 07/03/18        Page 103 of 107
 Debtor Education Management II, LLC                                        Case Number (if known):   18-11494
         Name

       Additional Page to List More Codebtors
         Column 1: Codebtor                                       Column 2: Creditor                             Check all schedules
                                                                                                                 that apply:
         Name and Mailing Address                                 Name
         THE ART INSTITUTE OF INDIANAPOLIS, LLC                   US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.77     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                 E/F

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         THE ART INSTITUTE OF JACKSONVILLE, INC.                  US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.78     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                 E/F

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         THE ART INSTITUTE OF LAS VEGAS, INC.                     US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.79     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                 E/F

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         THE ART INSTITUTE OF MICHIGAN, INC.                      US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.80     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                 E/F

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         THE ART INSTITUTE OF NEW YORK CITY, INC.                 US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.81     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                 E/F

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         THE ART INSTITUTE OF OHIO - CINCINNATI, INC.             US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.82     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                 E/F

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         THE ART INSTITUTE OF PHILADELPHIA LLC                    US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.83     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                 E/F

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         THE ART INSTITUTE OF PITTSBURGH LLC                      US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.84     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                 E/F

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         THE ART INSTITUTE OF PORTLAND, INC.                      US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.85     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                 E/F

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         THE ART INSTITUTE OF RALEIGH-DURHAM, INC.                US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.86     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                 E/F

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Official Form 206H                                  Schedule H: Codebtors                                         Page 9 of 12
                           Case 18-11494-LSS            Doc 9     Filed 07/03/18        Page 104 of 107
 Debtor Education Management II, LLC                                         Case Number (if known):   18-11494
         Name

       Additional Page to List More Codebtors
         Column 1: Codebtor                                        Column 2: Creditor                             Check all schedules
                                                                                                                  that apply:
         Name and Mailing Address                                  Name
         THE ART INSTITUTE OF SALT LAKE CITY, INC.                 US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.87     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF SAN ANTONIO, INC.                    US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.88     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF SEATTLE, INC.                        US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.89     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF ST. LOUIS, INC.                      US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.90     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF TAMPA, INC.                          US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.91     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF TENNESSEE-NASHVILLE, INC.            US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.92     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF TUCSON, INC.                         US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.93     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF VIRGINIA BEACH LLC                   US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.94     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF WASHINGTON, INC.                     US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.95     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

                                                                                                                    G


         THE ART INSTITUTE OF WASHINGTON-DULLES, LLC               US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.96     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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Official Form 206H                                   Schedule H: Codebtors                                         Page 10 of 12
                            Case 18-11494-LSS           Doc 9    Filed 07/03/18        Page 105 of 107
 Debtor Education Management II, LLC                                        Case Number (if known):   18-11494
          Name

        Additional Page to List More Codebtors
          Column 1: Codebtor                                      Column 2: Creditor                             Check all schedules
                                                                                                                 that apply:
          Name and Mailing Address                                Name
          THE ART INSTITUTE OF WISCONSIN LLC                      US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.97      210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                                E/F

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          THE ART INSTITUTE OF YORK- PENNSYLVANIA LLC             US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.98      210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                                E/F

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          THE ART INSTITUTES INTERNATIONAL - KANSAS CITY, INC.    US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.99      210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                                E/F

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          THE ART INSTITUTES INTERNATIONAL II LLC                 US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.100     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                                E/F

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          THE ART INSTITUTES INTERNATIONAL LLC                    US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.101     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                                E/F

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          THE ART INSTITUTES INTERNATIONAL MINNESOTA, INC.        US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.102     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                   G


          THE ASHER SCHOOL OF BUSINESS EDUCATION                  US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.103     CORPORATION                                             ADMINISTRATIVE AND COLLATERAL AGENT
          210 SIXTH AVENUE, 3RD FLOOR                                                                              E/F
          PITTSBURGH, PA 15222-2603
                                                                                                                   G


          THE CONNECTING LINK LLC                                 US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.104     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                                E/F

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          THE ILLINOIS INSTITUTE OF ART - TINLEY PARK LLC         US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.105     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                                E/F

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          THE ILLINOIS INSTITUTE OF ART AT SCHAUMBURG, INC.       US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.106     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                                E/F

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Official Form 206H                                  Schedule H: Codebtors                                         Page 11 of 12
                            Case 18-11494-LSS        Doc 9     Filed 07/03/18        Page 106 of 107
 Debtor Education Management II, LLC                                      Case Number (if known):   18-11494
          Name

        Additional Page to List More Codebtors
          Column 1: Codebtor                                    Column 2: Creditor                             Check all schedules
                                                                                                               that apply:
          Name and Mailing Address                              Name
          THE ILLINOIS INSTITUTE OF ART, INC.                   US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.107     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                              E/F

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          THE INSTITUTE OF POST-SECONDARY EDUCATION, INC.       US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.108     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                              E/F

                                                                                                                 G


          THE NEW ENGLAND INSTITUTE OF ART, LLC                 US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.109     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                              E/F

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          THE UNIVERSITY OF SARASOTA, INC.                      US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.110     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                              E/F

                                                                                                                 G


          WESTERN STATE UNIVERSITY OF SOUTHERN CALIFORNIA       US BANK NATIONAL ASSOCIATION, AS                 D (s2192)
2.111     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                              E/F

                                                                                                                 G




Official Form 206H                                Schedule H: Codebtors                                         Page 12 of 12
                               Case 18-11494-LSS               Doc 9           Filed 07/03/18               Page 107 of 107

 Fill in this information to identify the case and this filing:


              Education Management II LLC
 Debtor Name __________________________________________________________________

                                                                             Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         ✔
             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
             Schedule H: Codebtors (Official Form 206H)

         ✔
             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on ______________
                      06/29/2018                           8      /s/ Frank W. Jalufka
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Frank W. Jalufka
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
